Filed 06/26/19                                                            Case 19-12732                                                                   Doc 1
     Fill in this information to identify your case:

         United States Bankruptcy Court for the:

            Eastern District Of California
         ______________

         Case number (If known): _________________________ Chapter you are filing under:
                                                                  
                                                                  X   Chapter 7
                                                                     Chapter 11
                                                                     Chapter 12
                                                                     Chapter 13                                                Check if this is an
                                                                                                                                   amended filing


    Official Form 101
    Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

    The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
    joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
    the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
    Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


    Part 1:       Identify Yourself

                                            About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
    1.    Your full name
           Write the name that is on your
           government-issued picture        Elvira
                                            __________________________________________________            __________________________________________________
                                            First name                                                    First name
           identification (for example,
           your driver’s license or         __________________________________________________            __________________________________________________
           passport).                       Middle name                                                   Middle name

           Bring your picture               Vazquez
                                            __________________________________________________            __________________________________________________
           identification to your meeting   Last name                                                     Last name
           with the trustee.                ___________________________                                   ___________________________
                                            Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




    2.    All other names you               __________________________________________________            __________________________________________________
          have used in the last 8           First name                                                    First name
          years
                                            __________________________________________________            __________________________________________________
           Include your married or          Middle name                                                   Middle name
           maiden names.                    __________________________________________________            __________________________________________________
                                            Last name                                                     Last name

                                            __________________________________________________            __________________________________________________
                                            First name                                                    First name

                                            __________________________________________________            __________________________________________________
                                            Middle name                                                   Middle name
                                            __________________________________________________            __________________________________________________
                                            Last name                                                     Last name




    3.    Only the last 4 digits of
          your Social Security              xxx    – xx – ____
                                                           0 ____
                                                               5 ____
                                                                   4 ____
                                                                      1                                  xxx    – xx – ____ ____ ____ ____
          number or federal                 OR                                                           OR
          Individual Taxpayer
          Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
          (ITIN)

    Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
Filed 06/26/19                                                              Case 19-12732                                                                           Doc 1

    Debtor 1        Elvira Vazquez
                    _______________________________________________________                            Case number (if known)_____________________________________
                    First Name   Middle Name             Last Name




                                               About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


    4.    Any business names
          and Employer                         
                                               X I have not used any business names or EINs.                 I have not used any business names or EINs.
          Identification Numbers
          (EIN) you have used in               _________________________________________________            _________________________________________________
          the last 8 years                     Business name                                                Business name

          Include trade names and
                                               _________________________________________________            _________________________________________________
          doing business as names              Business name                                                Business name


                                               ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                               EIN                                                          EIN

                                               ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                               EIN                                                          EIN




    5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                               3638 W. Olive Avenue
                                               _________________________________________________            _________________________________________________
                                               Number     Street                                            Number     Street


                                               _________________________________________________            _________________________________________________


                                               Fresno                          CA      93722
                                               _________________________________________________            _________________________________________________
                                               City                            State   ZIP Code             City                            State   ZIP Code

                                               FRESNO
                                               _________________________________________________            _________________________________________________
                                               County                                                       County


                                               If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                               above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                               any notices to you at this mailing address.                  any notices to this mailing address.


                                               _________________________________________________            _________________________________________________
                                               Number     Street                                            Number     Street


                                               _________________________________________________            _________________________________________________
                                               P.O. Box                                                     P.O. Box

                                               _________________________________________________            _________________________________________________
                                               City                            State   ZIP Code             City                            State   ZIP Code




    6.    Why you are choosing                 Check one:                                                   Check one:
          this district to file for
          bankruptcy                           
                                               X Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                                  I have lived in this district longer than in any             I have lived in this district longer than in any
                                                  other district.                                              other district.

                                                I have another reason. Explain.                             I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                                  ________________________________________                     ________________________________________
                                                  ________________________________________                     ________________________________________
                                                  ________________________________________                     ________________________________________
                                                  ________________________________________                     ________________________________________



         Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
Filed 06/26/19                                                             Case 19-12732                                                                         Doc 1

    Debtor 1        Elvira Vazquez
                    _______________________________________________________                            Case number (if known)_____________________________________
                    First Name   Middle Name             Last Name




    Part 2:       Tell the Court About Your Bankruptcy Case


    7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
          Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
          are choosing to file
          under
                                               
                                               X Chapter 7
                                                Chapter 11
                                                Chapter 12
                                                Chapter 13

    8.    How you will pay the fee              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                  local court for more details about how you may pay. Typically, if you are paying the fee
                                                  yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                  submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                  with a pre-printed address.

                                               
                                               X I need to pay the fee in installments. If you choose this option, sign and attach the
                                                  Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                  By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                  less than 150% of the official poverty line that applies to your family size and you are unable to
                                                  pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                  Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


    9.    Have you filed for                   
                                               X No
          bankruptcy within the
          last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                      MM / DD / YYYY

                                                         District __________________________ When     _______________ Case number ___________________________
                                                                                                      MM / DD / YYYY

                                                         District __________________________ When     _______________ Case number ___________________________
                                                                                                      MM / DD / YYYY



    10.   Are any bankruptcy                   
                                               X No
          cases pending or being
          filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
          not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
          you, or by a business                                                                       MM / DD / YYYY
          partner, or by an
          affiliate?
                                                         Debtor _________________________________________________ Relationship to you      _____________________

                                                         District __________________________ When     _______________ Case number, if known____________________
                                                                                                      MM / DD / YYYY



    11.   Do you rent your                     
                                               X No.     Go to line 12.
          residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                            No. Go to line 12.
                                                            Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                             part of this bankruptcy petition.




         Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
Filed 06/26/19                                                                  Case 19-12732                                                                            Doc 1

    Debtor 1        Elvira Vazquez
                    _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name        Middle Name             Last Name




    Part 3:       Report About Any Businesses You Own as a Sole Proprietor


    12.   Are you a sole proprietor                 
                                                    X No. Go to Part 4.
          of any full- or part-time
          business?                                  Yes. Name and location of business
          A sole proprietorship is a
          business you operate as an                         _______________________________________________________________________________________
                                                             Name of business, if any
          individual, and is not a
          separate legal entity such as
          a corporation, partnership, or                     _______________________________________________________________________________________
                                                             Number    Street
          LLC.
          If you have more than one
                                                             _______________________________________________________________________________________
          sole proprietorship, use a
          separate sheet and attach it
          to this petition.                                  _______________________________________________          _______      __________________________
                                                              City                                                    State        ZIP Code


                                                             Check the appropriate box to describe your business:
                                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                                None of the above


    13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
          Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
          Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                    any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
          are you a small business
          debtor?
                                                    
                                                    X No.    I am not filing under Chapter 11.
          For a definition of small
          business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
          11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                     Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                             Bankruptcy Code.


    Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


    14.   Do you own or have any                    
                                                    X No
          property that poses or is
          alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
          of imminent and
          identifiable hazard to                                                       ________________________________________________________________________
          public health or safety?
          Or do you own any
          property that needs
                                                              If immediate attention is needed, why is it needed? _______________________________________________
          immediate attention?
          For example, do you own                                                      ________________________________________________________________________
          perishable goods, or livestock
          that must be fed, or a building
          that needs urgent repairs?
                                                              Where is the property? ________________________________________________________________________
                                                                                       Number         Street


                                                                                       ________________________________________________________________________

                                                                                      ________________________________________ _______            ____________________
                                                                                      City                                     State              ZIP Code


      Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
Filed 06/26/19                                                                Case 19-12732                                                                                Doc 1

    Debtor 1        Elvira Vazquez
                    _______________________________________________________                                   Case number (if known)_____________________________________
                    First Name     Middle Name             Last Name




    Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                 About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
    15.   Tell the court whether
          you have received a
          briefing about credit                  You must check one:                                                You must check one:
          counseling.
                                                 
                                                 X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                    counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
          receive a briefing about credit           certificate of completion.                                         certificate of completion.
          counseling before you file for
                                                    Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
          bankruptcy. You must
                                                    plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
          truthfully check one of the
          following choices. If you
          cannot do so, you are not
                                                  I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                    counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                    certificate of completion.                                         certificate of completion.
          If you file anyway, the court
                                                    Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
          can dismiss your case, you
                                                    you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
          will lose whatever filing fee
                                                    plan, if any.                                                      plan, if any.
          you paid, and your creditors
          can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
          again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                    unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                    days after I made my request, and exigent                          days after I made my request, and exigent
                                                    circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                    of the requirement.                                                of the requirement.
                                                    To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                    requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                    what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                    you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                    bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                    required you to file this case.                                    required you to file this case.
                                                    Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                    dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                    briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                    If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                    still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                    You must file a certificate from the approved                      You must file a certificate from the approved
                                                    agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                    developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                    may be dismissed.                                                  may be dismissed.
                                                    Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                    only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                    days.                                                              days.

                                                  I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                    credit counseling because of:                                      credit counseling because of:

                                                     Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                       deficiency that makes me                                           deficiency that makes me
                                                                       incapable of realizing or making                                   incapable of realizing or making
                                                                       rational decisions about finances.                                 rational decisions about finances.
                                                     Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                       to be unable to participate in a                                   to be unable to participate in a
                                                                       briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                       through the internet, even after I                                 through the internet, even after I
                                                                       reasonably tried to do so.                                         reasonably tried to do so.
                                                     Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                       duty in a military combat zone.                                    duty in a military combat zone.
                                                    If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                    briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                    motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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    Debtor 1       Elvira Vazquez
                   _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name    Middle Name             Last Name




     Part 6:     Answer These Questions for Reporting Purposes

                                               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
          you have?
                                                       No. Go to line 16b.
                                                    
                                                    X   Yes. Go to line 17.

                                               16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                    money for a business or investment or through the operation of the business or investment.
                                                       No. Go to line 16c.
                                                       Yes. Go to line 17.

                                               16c. State the type of debts you owe that are not consumer debts or business debts.
                                                    _______________________________________________________________

    17.   Are you filing under
          Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

          Do you estimate that after X Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
          any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
          excluded and                       
                                             X No
          administrative expenses
          are paid that funds will be         Yes
          available for distribution
          to unsecured creditors?

    18.   How many creditors do                
                                               X 1-49                                      1,000-5,000                            25,001-50,000
          you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
          owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                                200-999
    19.   How much do you                      
                                               X $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
          estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
          be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                                $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
    20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
          estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
          to be?                               
                                               X $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                                $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
    Part 7:      Sign Below

                                               I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                                    correct.
                                               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                               of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                               under Chapter 7.
                                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                               this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                               I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                               I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                               with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                               18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                /s/Elvira Vasquez
                                                  ______________________________________________               _____________________________
                                                  Signature of Debtor 1                                            Signature of Debtor 2

                                                              06/26/2019
                                                  Executed on _________________                                    Executed on __________________
                                                                     MM   / DD   / YYYY                                          MM / DD     / YYYY


      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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    Debtor 1     Elvira Vazquez
                 _______________________________________________________                               Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




                                            I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
    For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
    represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                            the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
    If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
    by an attorney, you do not
    need to file this page.
                                            /s/Patricia
                                             _________________________________
                                                         S. Carrillo                                            Date           _________________
                                                                                                                               06/26/2019
                                               Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                               Patricia S. Carrillo
                                               _________________________________________________________________________________________________
                                               Printed name

                                               Law Offices of Patricia S. Carrillo
                                               _________________________________________________________________________________________________
                                               Firm name

                                               2651 Serena Avenue
                                               _________________________________________________________________________________________________
                                               Number     Street

                                               _________________________________________________________________________________________________

                                               Clovis
                                               ______________________________________________________ CA
                                                                                                      ____________ 93619
                                                                                                                   ______________________________
                                               City                                                   State        ZIP Code




                                                             (559) 437-5100
                                               Contact phone _____________________________________             Email address   pscesq1@yahoo.com
                                                                                                                               ______________________________




                                               195975                                                 CA
                                               ______________________________________________________ ____________
                                               Bar number                                                      State




      Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
Filed 06/26/19                                                               Case 19-12732                                                                         Doc 1

    Fill in this information to identify your case and this filing:


    Debtor 1          Elvira                                       Vazquez
                      __________________________________________________________________
                        First Name               Middle Name                Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name               Middle Name                Last Name


                                            Eastern District of California
    United States Bankruptcy Court for the: ______________________________________

    Case number         ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                                 amended filing

    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                  12/15

    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
    category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
    responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write your name and case number (if known). Answer every question.

    Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.
        
        X    Yes. Where is the property?
                                                                     What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     
                                                                     X    Single-family home                           the amount of any secured claims on Schedule D:
          1.1. 3638   West Olive Ave
               _________________________________________                 Duplex or multi-unit building
                                                                                                                       Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description
                                                                         Condominium or cooperative                   Current value of the     Current value of the
                                                                         Manufactured or mobile home                  entire property?         portion you own?
                 _________________________________________
                                                                         Land                                          297,000.00
                                                                                                                       $________________         297,000.00
                                                                                                                                                $_______________
                                                                         Investment property
                 Fresno                   CA 93722
                 _________________________________________
                                                                         Timeshare                                    Describe the nature of your ownership
                 City                        State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                         Other __________________________________     the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                                                                       Fee Simple Ownership
                                                                                                                       __________________________________________
                 Fresno                                              
                                                                     X Debtor 1 only
                 _________________________________________
                 County                                              Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                           (see instructions)
                                                                     At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number: _______________________________
        If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                        Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
          1.2. ________________________________________
               Street address, if available, or other description
                                                                        Duplex or multi-unit building
                                                                       Condominium or cooperative                     Current value of the     Current value of the
                                                                        Manufactured or mobile home                   entire property?         portion you own?
                 ________________________________________
                                                                        Land                                          $________________        $_________________
                                                                        Investment property
                 ________________________________________
                 City                    State   ZIP Code
                                                                        Timeshare
                                                                                                                       Describe the nature of your ownership
                                                                                                                       interest (such as fee simple, tenancy by
                                                                        Other __________________________________      the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.    __________________________________________

                                                                    
                                                                     Debtor 1 only
                 ________________________________________
                 County                                             
                                                                     Debtor 2 only
                                                                    
                                                                     Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                    
                                                                     At least one of the debtors and another               (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number: _______________________________


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                   First Name       Middle Name          Last Name




                                                                     What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

        1.3. ________________________________________
                                                                        Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                              Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description         Duplex or multi-unit building
                                                                        Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                              entire property?          portion you own?
               ________________________________________                 Manufactured or mobile home
                                                                        Land                                                 $________________         $_________________

               ________________________________________
                                                                        Investment property
               City                    State   ZIP Code                 Timeshare
                                                                                                                              Describe the nature of your ownership
                                                                                                                              interest (such as fee simple, tenancy by
                                                                        Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                             __________________________________________
                                                                     Who has an interest in the property? Check one.
               ________________________________________              
                                                                      Debtor 1 only
               County
                                                                     
                                                                      Debtor 2 only
                                                                     
                                                                      Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                     
                                                                      At least one of the debtors and another
                                                                                                                                  (see instructions)

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number: _______________________________


    2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  297,000.00
                                                                                                                                                        $_________________
       you have attached for Part 1. Write that number here. ...................................................................................... 




    Part 2:     Describe Your Vehicles


    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
    you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       
       X Yes

               Make:                      Toyota
                                          ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
       3.1.

               Model:                     Camry
                                          ______________
                                                                     Debtor 1 only
                                                                                                                              the amount of any secured claims on Schedule D:
                                                                                                                              Creditors Who Have Claims Secured by Property.

                                          2015
                                                                     Debtor 2 only
               Year:                      ____________
                                                                     Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                          68000                                                                               entire property?          portion you own?
               Approximate mileage:       ____________               
                                                                     X At least one of the debtors and another
               Other information:
                                                                      Check if this is community property (see                10,000.00
                                                                                                                              $________________          10,000.00
                                                                                                                                                        $________________
               2015 Toyota Camry, Debtor's son
                                                                         instructions)
               makes all the monthly payments

       If you own or have more than one, describe here:

               Make:                      Jeep
                                          ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
       3.2.

               Model:                     Wrangler
                                          ______________
                                                                     Debtor 1 only
                                                                                                                              the amount of any secured claims on Schedule D:
                                                                                                                              Creditors Who Have Claims Secured by Property.

                                          2007
                                                                     Debtor 2 only
               Year:                      ____________
                                                                     Debtor 1 and Debtor 2 only
                                                                                                                              Current value of the
                                                                                                                              entire property?
                                                                                                                                                        Current value of the
                                                                                                                                                        portion you own?
               Approximate mileage:       170000
                                          ____________               
                                                                     X At least one of the debtors and another
               Other information:
                                                                                                                               8,000.00                  8,000.00
               See Attachment 1                                       Check if this is community property (see               $________________         $________________
                                                                         instructions)




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                       First Name         Middle Name                Last Name




                Make:                            Acura
                                                 ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
       3.3.

                Model:                           TSX
                                                 ______________
                                                                                  
                                                                                  X Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
                Year:                            2009
                                                 ____________
                                                                                  Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
                                                 226000                                                                                                      entire property?                 portion you own?
                Approximate mileage:             ____________                     At least one of the debtors and another
                Other information:
                                                                                   Check if this is community property (see                                  3,000.00
                                                                                                                                                             $________________                 3,000.00
                                                                                                                                                                                              $________________
                2009 Acura
                                                                                       instructions)


                Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
       3.4.

                Model:                           ______________
                                                                                  
                                                                                   Debtor 1 only
                                                                                                                                                             the amount of any secured claims on Schedule D:
                                                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                                  
                                                                                   Debtor 2 only
                Year:                            ____________
                                                                                  
                                                                                   Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                             entire property?                 portion you own?
                Approximate mileage: ____________                                 
                                                                                   At least one of the debtors and another
                Other information:
                                                                                   Check if this is community property (see                                 $________________                $________________
                                                                                       instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       
       X No
        Yes

                Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
       4.1.

                Model: ____________________                                       
                                                                                   Debtor 1 only
                                                                                                                                                             the amount of any secured claims on Schedule D:
                                                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                                  
                                                                                   Debtor 2 only
                Year:       ____________
                                                                                  
                                                                                   Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                Other information:                                                
                                                                                   At least one of the debtors and another                                   entire property?                 portion you own?

                                                                                   Check if this is community property (see                                 $________________                $________________
                                                                                      instructions)



       If you own or have more than one, list here:

                Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
       4.2.

                Model: ____________________                                       
                                                                                   Debtor 1 only
                                                                                                                                                             the amount of any secured claims on Schedule D:
                                                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                                  
                                                                                   Debtor 2 only
                Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                                  
                                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                                             entire property?                 portion you own?
                Other information:                                                
                                                                                   At least one of the debtors and another

                                                                                                                                                             $________________                $________________
                                                                                   Check if this is community property (see
                                                                                      instructions)




    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       21,000.00
                                                                                                                                                                                             $_________________
       you have attached for Part 2. Write that number here ............................................................................................................................ 




    Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
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                        First Name            Middle Name                  Last Name




    Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                       Current value of the
    Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                       or exemptions.

    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
           No
       
       X    Yes. Describe. ........          Household goods                                                                                                                                             3,000.00
                                                                                                                                                                                                        $___________________

    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games
       
       X    No
           Yes. Describe. .........                                                                                                                                                                    $___________________

    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       
       X No
        Yes. Describe. .........                                                                                                                                                                       $___________________

    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments
       
       X    No
           Yes. Describe. .........                                                                                                                                                                    $___________________

    10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       
       X No
        Yes. Describe. ..........                                                                                                                                                                      $___________________

    11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       
       X    No
           Yes. Describe. ..........                                                                                                                                                                   $___________________


    12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                 gold, silver
       
       X    No
           Yes. Describe. ..........                                                                                                                                                                   $___________________

    13. Non-farm animals
       Examples: Dogs, cats, birds, horses

       
       X    No
           Yes. Describe. ............                                                                                                                                                                 $___________________

    14. Any other personal and household items you did not already list, including any health aids you did not list

       
       X    No
           Yes. Give specific
                                                                                                                                                                                                        $___________________
            information..................

    15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       3,000.00
                                                                                                                                                                                                        $______________________
       for Part 3. Write that number here ........................................................................................................................................................ 



    Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
Filed 06/26/19                                                                                                   Case 19-12732                                                                                                                   Doc 1
    Debtor 1            Elvira                        Vazquez
                        _______________________________________________________                                                                                    Case number (if known)_____________________________________
                        First Name              Middle Name                       Last Name




    Part 4:       Describe Your Financial Assets

    Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                         portion you own?
                                                                                                                                                                                                                         Do not deduct secured claims
                                                                                                                                                                                                                         or exemptions.


    16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

    
     X     No
         Yes .....................................................................................................................................................................    Cash: .......................    $__________________



    17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
       
       X   Yes .....................                                                                  Institution name:


                                                 17.1. Checking account:                             Nobel Credit Union
                                                                                                     _________________________________________________________                                                             50.00
                                                                                                                                                                                                                          $__________________

                                                 17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                                 17.3. Savings account:                               Nobel Credit Union
                                                                                                      _________________________________________________________                                                           $__________________

                                                 17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                                 17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                                 17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                                 17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                                 17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                                 17.9. Other financial account:                       _________________________________________________________                                                           $__________________




    18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    
     X     No
         Yes ..................                Institution or issuer name:

                                                 _________________________________________________________________________________________                                                                                $__________________
                                                 _________________________________________________________________________________________                                                                                $__________________
                                                 _________________________________________________________________________________________                                                                                $__________________




    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       
       X No                                      Name of entity:                                                                                                                         % of ownership:
       Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
           information about
           them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                                 _____________________________________________________________________                                                                   ___________%                     $__________________




    Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
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                       First Name            Middle Name            Last Name




    20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

    
     X No
     Yes. Give specific                    Issuer name:
           information about
           them. ......................      ______________________________________________________________________________________               $__________________
                                             ______________________________________________________________________________________
                                                                                                                                                  $__________________
                                             ______________________________________________________________________________________
                                                                                                                                                  $__________________


    21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       
       X   No
          Yes. List each
           account separately. . Type of account:                      Institution name:

                                             401(k) or similar plan:   ___________________________________________________________________        $__________________

                                             Pension plan:             ___________________________________________________________________        $__________________

                                             IRA:                      ___________________________________________________________________        $__________________

                                             Retirement account:       ___________________________________________________________________        $__________________

                                             Keogh:                    ___________________________________________________________________        $__________________

                                             Additional account:       ___________________________________________________________________        $__________________

                                             Additional account:       ___________________________________________________________________        $__________________



    22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
       companies, or others

       
       X   No
          Yes ...........................                         Institution name or individual:

                                             Electric:             ______________________________________________________________________         $___________________
                                             Gas:                  ______________________________________________________________________         $___________________
                                             Heating oil:          ______________________________________________________________________         $___________________
                                             Security deposit on rental unit: _____________________________________________________________
                                                                                                                                                  $___________________
                                             Prepaid rent:         ______________________________________________________________________
                                                                                                                                                  $___________________
                                             Telephone:            ______________________________________________________________________
                                                                                                                                                  $___________________
                                             Water:                ______________________________________________________________________
                                                                                                                                                  $___________________
                                             Rented furniture:     ______________________________________________________________________
                                                                                                                                                  $___________________
                                             Other:                ______________________________________________________________________
                                                                                                                                                  $___________________


    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       
       X   No
          Yes ...........................   Issuer name and description:
                                              _______________________________________________________________________________________             $__________________
                                             _______________________________________________________________________________________              $__________________
                                             _______________________________________________________________________________________              $__________________


    Official Form 106A/B                                                        Schedule A/B: Property                                                        page 6
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    Debtor 1           Elvira                        Vazquez
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                       First Name             Middle Name           Last Name




    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       
       X   No
          Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                       ____________________________________________________________________________________                 $_________________
                                                       ____________________________________________________________________________________                 $_________________
                                                       ____________________________________________________________________________________                 $_________________


    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit

       
       X   No
          Yes. Give specific
           information about them. ..                                                                                                                       $__________________


    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       
       X   No
          Yes. Give specific
           information about them. ..                                                                                                                       $__________________


    27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       
       X   No
          Yes. Give specific
           information about them. ..                                                                                                                       $__________________


    Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

    28. Tax refunds owed to you

       
       X   No
          Yes. Give specific information                                                                                         Federal:              $_________________
                about them, including whether
                you already filed the returns                                                                                     State:                $_________________
                and the tax years. ......................
                                                                                                                                  Local:                $_________________


    29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       
       X   No
          Yes. Give specific information. .............
                                                                                                                                 Alimony:                   $________________
                                                                                                                                 Maintenance:               $________________
                                                                                                                                 Support:                   $________________
                                                                                                                                 Divorce settlement:        $________________
                                                                                                                                 Property settlement:       $________________

    30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else
       
       X   No
          Yes. Give specific information. ...............
                                                                                                                                                            $______________________



    Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
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                        First Name            Middle Name                  Last Name




    31. Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       
       X    No
           Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
                 of each policy and list its value. ....
                                                                          ___________________________________________ ____________________________                                                       $__________________
                                                                          ___________________________________________ ____________________________                                                       $__________________
                                                                          ___________________________________________ ____________________________                                                       $__________________

    32. Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
       
       X    No
           Yes. Give specific information. .............
                                                                                                                                                                                                         $_____________________


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
       
       X    No
           Yes. Describe each claim. .....................
                                                                                                                                                                                                         $______________________

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims
           No
       
       X    Yes. Describe each claim. ..................... Worker's Compensation Claim for Injured Foot
                                                                                                                                                                                                          1.00
                                                                                                                                                                                                         $_____________________




    35. Any financial assets you did not already list

       
       X    No
           Yes. Give specific information. ...........
                                                                                                                                                                                                         $_____________________



    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here ........................................................................................................................................................       51.00
                                                                                                                                                                                                         $_____________________




    Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?

       
       X    No. Go to Part 6.
           Yes. Go to line 38.
                                                                                                                                                                                                       Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                       or exemptions.

    38. Accounts receivable or commissions you already earned

    
     X      No
           Yes. Describe ........
                                                                                                                                                                                                       $_____________________

    39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       
       X    No
           Yes. Describe ........                                                                                                                                                                     $_____________________



    Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
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                        First Name             Middle Name                 Last Name




    40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       
       X    No
           Yes. Describe ........
                                                                                                                                                                                                       $_____________________


    41. Inventory
       
       X    No
           Yes. Describe ........                                                                                                                                                                     $_____________________


    42. Interests in partnerships or joint ventures

       
       X    No
           Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                              ______________________________________________________________________                                                      ________%                    $_____________________
                                              ______________________________________________________________________                                                      ________%                    $_____________________
                                              ______________________________________________________________________                                                      ________%                    $_____________________


    43. Customer lists, mailing lists, or other compilations
     
     X      No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    
                    X     No
                         Yes. Describe.........
                                                                                                                                                                                                       $____________________


    44. Any business-related property you did not already list
       
       X    No
           Yes. Give specific
                                  ______________________________________________________________________________________                                                                               $____________________
            information .........
                                              ______________________________________________________________________________________                                                                    $____________________
                                             ______________________________________________________________________________________                                                                    $____________________
                                             ______________________________________________________________________________________                                                                    $____________________
                                             ______________________________________________________________________________________                                                                    $____________________

                                              ______________________________________________________________________________________                                                                    $____________________

    45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                        0.00
                                                                                                                                                                                                       $____________________
       for Part 5. Write that number here ........................................................................................................................................................ 




    Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       
       X No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                                     Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                       or exemptions.
    47. Farm animals
       Examples: Livestock, poultry, farm-raised fish
       
       X    No
           Yes ...........................

                                                                                                                                                                                                         $___________________



    Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
Filed 06/26/19                                                                                               Case 19-12732                                                                                                             Doc 1
     Debtor 1              Elvira                        Vazquez
                           _______________________________________________________                                                                        Case number (if known)_____________________________________
                           First Name             Middle Name                   Last Name




    48. Crops—either growing or harvested

         
         X     No
              Yes. Give specific
               information. ............                                                                                                                                                                            $___________________

    49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
         
         X     No
              Yes ...........................
                                                                                                                                                                                                                    $___________________

    50. Farm and fishing supplies, chemicals, and feed

         
         X     No
              Yes ...........................
                                                                                                                                                                                                                    $___________________

    51. Any farm- and commercial fishing-related property you did not already list
    
     X         No
              Yes. Give specific
               information. ............                                                                                                                                                                            $___________________

    52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                     0.00
                                                                                                                                                                                                                    $___________________
         for Part 6. Write that number here ........................................................................................................................................................ 



    Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

         
         X     No
                                                                                                                                                                                                                     $________________
              Yes. Give specific
               information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                      $________________


    54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




    Part 8:             List the Totals of Each Part of this Form


    55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      297,000.00
                                                                                                                                                                                                                    $________________

    56. Part 2: Total vehicles, line 5                                                                                    21,000.00
                                                                                                                         $________________

    57. Part 3: Total personal and household items, line 15                                                               3,000.00
                                                                                                                         $________________

    58. Part 4: Total financial assets, line 36                                                                           51.00
                                                                                                                         $________________

    59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                         $________________

    60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                         $________________

    61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                        0.00

    62. Total personal property. Add lines 56 through 61. ...................                                             24,051.00
                                                                                                                         $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                      24,051.00


    63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        321,051.00
                                                                                                                                                                                                                    $_________________



     Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
Filed 06/26/19                                                 Case 19-12732    Doc 1


                                                       Attachment
                                              Debtor: Elvira Vazquez Case No:


    Attachment 1
         2007 Jeep Wrangler, Debtor's daughter makes all monthly payments
Filed 06/26/19                                                           Case 19-12732                                                                             Doc 1

     Fill in this information to identify your case:

     Debtor 1          Elvira Vazquez
                       __________________________________________________________________
                         First Name             Middle Name               Last Name

     Debtor 2            ________________________________________________________________
     (Spouse, if filing) First Name             Middle Name               Last Name


     United States Bankruptcy Court for the: Eastern District of California
                                             _____________________________________________
                                              __________  District of __________

     Case number
      (If known)
                         ___________________________________________                                                                           Check if this is an
                                                                                                                                                  amended filing



    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                            04/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
    Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
    space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
    your name and case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
    of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
    retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
    limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
    would be limited to the applicable statutory amount.


     Part 1:         Identify the Property You Claim as Exempt


     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
         
         X You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


           Brief description of the property and line on      Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
           Schedule A/B that lists this property              portion you own
                                                              Copy the value from         Check only one box for each exemption.
                                                              Schedule A/B

                       Primary Residence                                                                                        C.C.P. § 704.730(a)(1)
                                                                                                                                ____________________________
          Brief
          description: _________________________
                                                               297,000.00
                                                              $________________            
                                                                                           X $ 74,000.00
                                                                                               ____________                     ____________________________
          Line from                                                                         100% of fair market value, up to   ____________________________
          Schedule A/B: 1.0                                                                   any applicable statutory limit
                        ______                                                                                                  ____________________________

                       Household goods                                                                                          C.C.P. § 704.020
                                                                                                                                ____________________________
          Brief
          description: _________________________
                                                               3,000.00
                                                              $________________               3000
                                                                                           X $ ____________                     ____________________________
          Line from                                                                         100% of fair market value, up to   ____________________________
          Schedule A/B: 6
                        ______                                                                any applicable statutory limit
                                                                                                                                ____________________________
                       2009 Acura                                                                                               C.C.P. § 704.010
                                                                                                                                ____________________________
          Brief
          description:
                                                               3,000.00
                                                              $________________            
                                                                                           X $ 3,000.00
                                                                                               ____________                     ____________________________
                           _________________________
          Line from                                                                         100% of fair market value, up to   ____________________________
          Schedule A/B: ______
                        3.3                                                                   any applicable statutory limit
                                                                                                                                ____________________________

     3. Are you claiming a homestead exemption of more than $170,350?
         (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

         
         X     No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                     No
                     Yes



    Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                       page 1 of __
Filed 06/26/19                                                        Case 19-12732                                                                        Doc 1
    Debtor 1     Elvira Vazquez
                 _______________________________________________________                         Case number (if known)_____________________________________
                 First Name       Middle Name      Last Name




     Part 2:    Additional Page

          Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
          on Schedule A/B that lists this property         portion you own
                                                           Copy the value from    Check only one box for each exemption
                                                           Schedule A/B

         Brief        Worker's Compensation Claim                                                                    C.C.P. §§ 704.140(a), 704.150(a)
                                                                                                                     ____________________________
         description: for Injured Foot
                      _________________________
                                                            1.00
                                                           $________________         1.00
                                                                                  X $ ____________                   ____________________________
         Line from                                                                 100% of fair market value, up to ____________________________
         Schedule A/B: 34
                       ______                                                        any applicable statutory limit ____________________________

         Brief                                                                                                         ____________________________
         description: _________________________            $________________       $ ____________
                                                                                                                       ____________________________
         Line from                                                                 100% of fair market value, up to   ____________________________
         Schedule A/B:                                                               any applicable statutory limit
                         ______                                                                                        ____________________________

         Brief                                                                                                         ____________________________
         description: _________________________            $________________       $ ____________                     ____________________________
         Line from                                                                 100% of fair market value, up to   ____________________________
         Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

         Brief                                                                                                       ____________________________
         description: _________________________            $________________       $ ____________                   ____________________________
         Line from                                                                 100% of fair market value, up to ____________________________
         Schedule A/B: ______                                                        any applicable statutory limit ____________________________

         Brief                                                                                                         ____________________________
         description: _________________________            $________________       $ ____________                     ____________________________
         Line from                                                                 100% of fair market value, up to   ____________________________
         Schedule A/B:                                                               any applicable statutory limit
                              ______                                                                                   ____________________________

         Brief                                                                                                         ____________________________
         description: _________________________            $________________       $ ____________                     ____________________________
         Line from                                                                 100% of fair market value, up to   ____________________________
         Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

                                                                                                                     ____________________________
         Brief
         description: _________________________            $________________       $ ____________                   ____________________________
         Line from                                                                 100% of fair market value, up to ____________________________
         Schedule A/B: ______                                                        any applicable statutory limit ____________________________

         Brief                                                                                                         ____________________________
         description: _________________________            $________________       $ ____________                     ____________________________
         Line from                                                                 100% of fair market value, up to   ____________________________
         Schedule A/B:                                                               any applicable statutory limit
                              ______                                                                                   ____________________________

         Brief                                                                                                         ____________________________
         description: _________________________            $________________       $ ____________                     ____________________________
         Line from                                                                 100% of fair market value, up to   ____________________________
         Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

                                                                                                                     ____________________________
         Brief
         description: _________________________            $________________       $ ____________                   ____________________________
         Line from                                                                 100% of fair market value, up to ____________________________
         Schedule A/B: ______                                                        any applicable statutory limit ____________________________

         Brief                                                                                                         ____________________________
         description: _________________________            $________________       $ ____________                     ____________________________
         Line from                                                                 100% of fair market value, up to   ____________________________
         Schedule A/B:                                                               any applicable statutory limit
                              ______                                                                                   ____________________________

         Brief                                                                                                         ____________________________
         description:                                      $________________       $ ____________                     ____________________________
                        _________________________
         Line from                                                                 100% of fair market value, up to   ____________________________
         Schedule A/B: ______                                                        any applicable statutory limit    ____________________________


    Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                             2 of __
                                                                                                                                            page ___   2
Filed 06/26/19                                                                      Case 19-12732                                                                                    Doc 1

    Fill in this information to identify your case:

    Debtor 1          Elvira Vazquez
                      __________________________________________________________________
                        First Name                Middle Name                      Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name                Middle Name                      Last Name


    United States Bankruptcy Court for the: Eastern District of California
                                            ______________________________________

    Case number         ___________________________________________
     (If known)                                                                                                                                              Check if this is an
                                                                                                                                                                amended filing


    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
    additional pages, write your name and case number (if known).

     1. Do any creditors have claims secured by your property?
              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           
           X   Yes. Fill in all of the information below.


     Part 1:        List All Secured Claims
                                                                                                                               Column A               Column B              Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                   Amount of claim        Value of collateral   Unsecured
           for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.               Do not deduct the      that supports this    portion
           As much as possible, list the claims in alphabetical order according to the creditor’s name.                        value of collateral.   claim                 If any

     2.1                                                        Describe the property that secures the claim:                   17,000.00
                                                                                                                               $_________________  10,000.00
                                                                                                                                                  $________________  0.00
                                                                                                                                                                    $____________
           Bank  of Stockton
           ______________________________________
           Creditor’s Name
                                                  2015 Toyota Camry, Debtor's son makes all the
           PO  Box 1110
           ______________________________________ monthly payments
           Number     Street

                                                                As of the date you file, the claim is: Check all that apply.
           ______________________________________
                                                                   Contingent
           Stockton              CA 95201
           ______________________________________                  Unliquidated
           City                   State ZIP Code                   Disputed
       Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       
       X     Debtor 1 only                                      
                                                                X   An agreement you made (such as mortgage or secured
            Debtor 2 only                                          car loan)
            Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
            At least one of the debtors and another               Judgment lien from a lawsuit
                                                                   Other (including a right to offset) ____________________
         Check if this claim relates to a
          community debt
       Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
     2.2                                                        Describe the property that secures the claim:                   223,000.00
                                                                                                                               $_________________  297,000.00
                                                                                                                                                  $________________  0.00
                                                                                                                                                                    $____________
           United Wholesale Mortgage
           ______________________________________
           Creditor’s Name
                                                            Primary Residence
           PO  Box 77404
           ______________________________________
           Number            Street

                                                                As of the date you file, the claim is: Check all that apply.
           ______________________________________
                                                                   Contingent
           Ewing                 NJ 08628
           ______________________________________                  Unliquidated
           City                   State ZIP Code                   Disputed
       Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       
       X     Debtor 1 only                                      
                                                                X   An agreement you made (such as mortgage or secured
            Debtor 2 only                                          car loan)
            Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
            At least one of the debtors and another               Judgment lien from a lawsuit
                                                                   Other (including a right to offset) ____________________
         Check if this claim relates to a
          community debt
       Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
           Add the dollar value of your entries in Column A on this page. Write that number here:                               240,000.00
                                                                                                                               $_________________


      Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                                 2
                                                                                                                                                                  page 1 of ___
Filed 06/26/19                                                                   Case 19-12732                                                                                     Doc 1
    Debtor 1           Elvira Vazquez
                       _______________________________________________________                                    Case number (if known)_____________________________________
                       First Name      Middle Name          Last Name




                     Additional Page                                                                                         Column A               Column B              Column C
     Part 1:                                                                                                                 Amount of claim        Value of collateral   Unsecured
                     After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                             Do not deduct the
                     by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
     2.3                                                     Describe the property that secures the claim:                    6,300.00
                                                                                                                             $_________________  8,000.00
                                                                                                                                                $________________  1,300.00
                                                                                                                                                                  $____________
           Wells Fargo Auto Finance
           ______________________________________
           Creditor’s Name

           PO  box 60510
           ______________________________________
                                                  2007 Jeep Wrangler
           Number            Street

           ______________________________________            As of the date you file, the claim is: Check all that apply.

           Los  Angeles           CA 90060
           ______________________________________                Contingent
           City                   State ZIP Code                 Unliquidated
                                                                 Disputed
       Who owes the debt? Check one.                         Nature of lien. Check all that apply.
       
       X       Debtor 1 only                                 
                                                             X    An agreement you made (such as mortgage or secured
              Debtor 2 only                                      car loan)
              Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
              At least one of the debtors and another           Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
              Check if this claim relates to a
               community debt

       Date debt was incurred ____________                   Last 4 digits of account number ___ ___ ___ ___

     2.4                                                     Describe the property that secures the claim:                    0.00
                                                                                                                             $_________________  0.00
                                                                                                                                                $________________  0.00
                                                                                                                                                                  $____________
           ______________________________________
           Creditor’s Name

           ______________________________________
           Number            Street

                                                             As of the date you file, the claim is: Check all that apply.
           ______________________________________
                                                                 Contingent
           ______________________________________                Unliquidated
           City                          State   ZIP Code
                                                                 Disputed
       Who owes the debt? Check one.
                                                             Nature of lien. Check all that apply.
       
       X       Debtor 1 only
                                                                 An agreement you made (such as mortgage or secured
              Debtor 2 only                                      car loan)
              Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
              At least one of the debtors and another           Judgment lien from a lawsuit

              Check if this claim relates to a
                                                                 Other (including a right to offset) ____________________
               community debt

       Date debt was incurred ____________                   Last 4 digits of account number ___ ___ ___ ___

     2.5                                                     Describe the property that secures the claim:                   $_________________ $________________ $____________
           ______________________________________
           Creditor’s Name

           ______________________________________
           Number            Street

           ______________________________________            As of the date you file, the claim is: Check all that apply.
           ______________________________________                Contingent
           City                          State   ZIP Code        Unliquidated
                                                                 Disputed
       Who owes the debt? Check one.                         Nature of lien. Check all that apply.
              Debtor 1 only                                     An agreement you made (such as mortgage or secured
              Debtor 2 only                                      car loan)
              Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
              At least one of the debtors and another           Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
              Check if this claim relates to a
               community debt
       Date debt was incurred ____________                   Last 4 digits of account number ___ ___ ___ ___

                  Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                          6,300.00
                  If this is the last page of your form, add the dollar value totals from all pages.
                  Write that number here:                                                                                     246,300.00
                                                                                                                             $_________________

      Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             2 of ___
                                                                                                                                                                page ___    2
Filed 06/26/19                                                                   Case 19-12732                                                                                 Doc 1
      Fill in this information to identify your case:

      Debtor 1             Elvira                                      Vazquez
                           __________________________________________________________________
                            First Name                    Middle Name             Last Name

      Debtor 2              ________________________________________________________________
      (Spouse, if filing) First Name                      Middle Name             Last Name


      United States Bankruptcy Court for the: Eastern District of California
                                              ______________________________________
                                                                                                                                                           Check if this is an
      Case number           ___________________________________________
      (If known)                                                                                                                                             amended filing


    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15

    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
    A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
    creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
    needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
    any additional pages, write your name and case number (if known).

      Part 1:             List All of Your PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims against you?
             
             X No. Go to Part 2.
              Yes.
           2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
             each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
             nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
             unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
             (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                           Total claim    Priority     Nonpriority
                                                                                                                                                          amount       amount
     2.1
              ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
              Priority Creditor’s Name

              ____________________________________________                 When was the debt incurred?          ____________
              Number             Street
              ____________________________________________                 As of the date you file, the claim is: Check all that apply.
              ____________________________________________
              City                                State      ZIP Code
                                                                              Contingent
                                                                              Unliquidated
              Who incurred the debt? Check one.
                                                                              Disputed
                    Debtor 1 only
                    Debtor 2 only                                         Type of PRIORITY unsecured claim:
                    Debtor 1 and Debtor 2 only
                                                                              Domestic support obligations
                    At least one of the debtors and another
                                                                              Taxes and certain other debts you owe the government
                    Check if this claim is for a community debt              Claims for death or personal injury while you were
              Is the claim subject to offset?                                  intoxicated
                    No                                                       Other. Specify _________________________________
                    Yes
     2.2
              ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
              Priority Creditor’s Name
                                                                           When was the debt incurred?          ____________
              ____________________________________________
              Number             Street
              ____________________________________________                 As of the date you file, the claim is: Check all that apply.

              ____________________________________________
                                                                              Contingent
              City                                State      ZIP Code         Unliquidated
              Who incurred the debt? Check one.                               Disputed
                    Debtor 1 only
                                                                           Type of PRIORITY unsecured claim:
                    Debtor 2 only
                                                                              Domestic support obligations
                    Debtor 1 and Debtor 2 only
                    At least one of the debtors and another
                                                                              Taxes and certain other debts you owe the government
                                                                              Claims for death or personal injury while you were
                    Check if this claim is for a community debt               intoxicated
              Is the claim subject to offset?                                 Other. Specify _________________________________
                    No
                    Yes


    Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                      6
                                                                                                                                                               page 1 of ___
FiledDebtor
      06/26/19
            1 Elvira                               Vazquez Case 19-12732
              _______________________________________________________                                     Case number (if known)_____________________________________
                                                                                                                                                                              Doc 1
                         First Name       Middle Name         Last Name


       Part 2:          List All of Your NONPRIORITY Unsecured Claims

       3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           
           X Yes
       4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
           priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
           included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
           fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim
     4.1
            ATT Mobility
            _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___
            Nonpriority Creditor’s Name                                                                                                                        1,500.00
                                                                                                                                                              $__________________
                                                                                      When was the debt incurred?           ____________
            PO  Box 537104
            _____________________________________________________________
            Number              Street

            Atlanta                        GA      30353
            _____________________________________________________________
            City                                             State        ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                         Contingent
            Who incurred the debt? Check one.                                            Unliquidated
            
            X      Debtor 1 only                                                         Disputed
                  Debtor 2 only
                  Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another                               Student loans

                  Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
            Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts
            
            X      No                                                                 
                                                                                      X   Other. Specify ______________________________________
                  Yes

     4.2                                                                              Last 4 digits of account number ___ ___ ___ ___                          3,950.00
                                                                                                                                                              $__________________
            Brandsource
            _____________________________________________________________
            Nonpriority Creditor’s Name                                               When was the debt incurred?           ____________
            PO box 9001006
            _____________________________________________________________
            Number              Street
                                                                                      As of the date you file, the claim is: Check all that apply.
            Louisville                     KY      40290
            _____________________________________________________________
            City                                             State        ZIP Code
                                                                                         Contingent
            Who incurred the debt? Check one.                                            Unliquidated

            
            X      Debtor 1 only
                                                                                         Disputed

                  Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                               Student loans
                                                                                         Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                            that you did not report as priority claims
            Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts

            
            X      No                                                                 
                                                                                      X   Other. Specify ______________________________________

                  Yes

     4.3
            Client Services Inc
            _____________________________________________________________             Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                               N/A
            Nonpriority Creditor’s Name                                                                                                                       $_________________
                                                                                      When was the debt incurred?           ____________
            3451 Harry S. Truman Blvd
            _____________________________________________________________
            Number              Street

            St. Charles                    MO      63301
            _____________________________________________________________             As of the date you file, the claim is: Check all that apply.
            City                                             State        ZIP Code

                                                                                         Contingent
            Who incurred the debt? Check one.
                                                                                         Unliquidated
            
            X      Debtor 1 only
                                                                                         Disputed
                  Debtor 2 only
                  Debtor 1 and Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another
                                                                                         Student loans
                  Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
            Is the claim subject to offset?
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
            
            X      No
                                                                                      
                                                                                      X   Other. Specify ______________________________________
                  Yes




      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        2 of ___
                                                                                                                                                                   page __    6
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      06/26/19
            1 Elvira                               Vazquez Case 19-12732
              _______________________________________________________                                     Case number (if known)_____________________________________
                                                                                                                                                                        Doc 1
                       First Name       Middle Name           Last Name



     Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


     After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


    4.4                                                                                Last 4 digits of account number ___ ___ ___ ___
          Credence Resource Management LLC
          _____________________________________________________________                                                                                         N/A
                                                                                                                                                               $____________
          Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
          PO box 2390
          _____________________________________________________________
          Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Southgate                      MI      48195
          _____________________________________________________________
          City                                             State          ZIP Code        Contingent
                                                                                          Unliquidated
          Who incurred the debt? Check one.                                               Disputed
          
          X      Debtor 1 only
                Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                                                                                          Student loans
                At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
                Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                              
                                                                                       X   Other. Specify________________________________
          
          X      No
                Yes



    4.5
          Credit First / Firestone                                                     Last 4 digits of account number ___ ___ ___ ___                          385.00
                                                                                                                                                               $____________
          _____________________________________________________________
          Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
          PO box 81344
          _____________________________________________________________
          Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Cleveland                      OH      44188
          _____________________________________________________________
          City                                             State          ZIP Code        Contingent
                                                                                          Unliquidated
          Who incurred the debt? Check one.                                               Disputed
          
          X      Debtor 1 only
                Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                                                                                          Student loans
                At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
                Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                              
                                                                                       X   Other. Specify________________________________
          
          X      No
                Yes


    4.6                                                                                                                                                         2,800.00
                                                                                                                                                               $____________
                                                                                       Last 4 digits of account number ___ ___ ___ ___
          Home  Depot Credit Services
          _____________________________________________________________
          Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
          Dept 32-2194561597
          _____________________________________________________________
          Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Louisville                     KY          40290
          _____________________________________________________________
          City                                             State          ZIP Code        Contingent
                                                                                          Unliquidated
          Who incurred the debt? Check one.                                               Disputed
          
          X      Debtor 1 only
                Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                                                                                          Student loans
                At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
                Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                              
                                                                                       X   Other. Specify________________________________
          
          X      No
                Yes




      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    3 of ___
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                                                                                                                                                                        Doc 1
                       First Name       Middle Name           Last Name



     Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


     After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


    4.7                                                                                Last 4 digits of account number ___ ___ ___ ___
          Midland Credit Management Inc / Citi Cards
          _____________________________________________________________                                                                                        $____________
          Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
          PO Box 301030
          _____________________________________________________________
          Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Los Angeles                    CA      90030
          _____________________________________________________________
          City                                             State          ZIP Code        Contingent
                                                                                          Unliquidated
          Who incurred the debt? Check one.                                               Disputed
          
          X      Debtor 1 only
                Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                                                                                          Student loans
                At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
                Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                 Other. Specify________________________________
          
          X      No
                Yes



    4.8
          Sears Credit Cards                                                           Last 4 digits of account number ___ ___ ___ ___                          7,676.00
                                                                                                                                                               $____________
          _____________________________________________________________
          Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
          PO box 78051
          _____________________________________________________________
          Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Phoenix                        AZ      85062
          _____________________________________________________________
          City                                             State          ZIP Code        Contingent
                                                                                          Unliquidated
          Who incurred the debt? Check one.                                               Disputed
          
          X      Debtor 1 only
                Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                                                                                          Student loans
                At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
                Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                              
                                                                                       X   Other. Specify________________________________
          
          X      No
                Yes


    4.9                                                                                                                                                         9,499.00
                                                                                                                                                               $____________
                                                                                       Last 4 digits of account number ___ ___ ___ ___
          Sears Credit Cards
          _____________________________________________________________
          Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
          PO Box 78051
          _____________________________________________________________
          Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Phoenix                        AZ          85062
          _____________________________________________________________
          City                                             State          ZIP Code        Contingent
                                                                                          Unliquidated
          Who incurred the debt? Check one.                                               Disputed
          
          X      Debtor 1 only
                Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                                                                                          Student loans
                At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
                Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                              
                                                                                       X   Other. Specify________________________________
          
          X      No
                Yes




      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    4 of ___
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                                                                                                                                                                         Doc 1
                        First Name       Middle Name           Last Name



     Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


     After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


    4.10                                                                                Last 4 digits of account number ___ ___ ___ ___
           Sunrise Credit Services Inc
           _____________________________________________________________                                                                                         N/A
                                                                                                                                                                $____________
           Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
           PO box 9100
           _____________________________________________________________
           Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
           Farmingdale                    NY      11735
           _____________________________________________________________
           City                                             State          ZIP Code        Contingent
                                                                                           Unliquidated
           Who incurred the debt? Check one.                                               Disputed
           
           X      Debtor 1 only
                 Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                                           Student loans
                 At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
                 Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                              
                                                                                        X   Other. Specify________________________________
           
           X      No
                 Yes



    4.11
           TJ Maxx                                                                      Last 4 digits of account number ___ ___ ___ ___                          200.00
                                                                                                                                                                $____________
           _____________________________________________________________
           Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
           Po Box 530948
           _____________________________________________________________
           Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
           Atlanta                                30353
           _____________________________________________________________
           City                                             State          ZIP Code        Contingent
                                                                                           Unliquidated
           Who incurred the debt? Check one.                                               Disputed
           
           X      Debtor 1 only
                 Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                                           Student loans
                 At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
                 Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                              
                                                                                        X   Other. Specify________________________________
           
           X      No
                 Yes


    4.12                                                                                                                                                        $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
           _____________________________________________________________
           Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
           _____________________________________________________________
           Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
           _____________________________________________________________
           City                                             State          ZIP Code        Contingent
                                                                                           Unliquidated
           Who incurred the debt? Check one.                                               Disputed
                 Debtor 1 only
                 Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                                           Student loans
                 At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
                 Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                 Other. Specify________________________________
                 No
                 Yes




      Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    5 of ___
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              _______________________________________________________
                                                                                                                                                           Doc 1
                                                                                                 Case number (if known)_____________________________________
                    First Name    Middle Name         Last Name



     Part 4:   Add the Amounts for Each Type of Unsecured Claim


     6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
        Add the amounts for each type of unsecured claim.




                                                                                            Total claim


                     6a. Domestic support obligations                               6a.
     Total claims                                                                           $_________________________
     from Part 1
                     6b. Taxes and certain other debts you owe the
                         government                                                 6b.     $_________________________

                     6c. Claims for death or personal injury while you were
                         intoxicated                                                6c.
                                                                                            $_________________________

                     6d. Other. Add all other priority unsecured claims.
                         Write that amount here.                                    6d.
                                                                                          + $_________________________

                     6e. Total. Add lines 6a through 6d.                            6e.
                                                                                            $_________________________



                                                                                            Total claim

                     6f. Student loans                                              6f.
     Total claims                                                                             0.00
                                                                                             $_________________________
     from Part 2
                     6g. Obligations arising out of a separation agreement
                         or divorce that you did not report as priority
                         claims                                                     6g.       0.00
                                                                                             $_________________________

                     6h. Debts to pension or profit-sharing plans, and other
                         similar debts                                              6h.      0.00
                                                                                            $_________________________

                     6i. Other. Add all other nonpriority unsecured claims.
                         Write that amount here.                                    6i.   + $_________________________
                                                                                             38,451.00


                     6j. Total. Add lines 6f through 6i.                            6j.
                                                                                              38,451.00
                                                                                             $_________________________




      Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           6 of ___
                                                                                                                                                  page __    6
Filed 06/26/19                                                            Case 19-12732                                                                            Doc 1


      Fill in this information to identify your case:

      Debtor               Elvira Vazquez
                           __________________________________________________________________
                            First Name             Middle Name            Last Name

      Debtor 2              ________________________________________________________________
      (Spouse If filing)    First Name             Middle Name            Last Name


                                             Eastern District of California
      United States Bankruptcy Court for the:______________________________________

      Case number           ___________________________________________
      (If known)                                                                                                                              Check if this is an
                                                                                                                                                 amended filing


    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).


     1. Do you have any executory contracts or unexpired leases?
           
           X    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
     2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.

           Person or company with whom you have the contract or lease                               State what the contract or lease is for

     2.1
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Number     Street

           _____________________________________________________________________
           City                         State   ZIP Code

     2.2
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Number     Street

           _____________________________________________________________________
           City                         State   ZIP Code

     2.3
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Number     Street

           _____________________________________________________________________
           City                         State   ZIP Code

     2.4
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Number     Street

           _____________________________________________________________________
           City                         State   ZIP Code

     2.5
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Number     Street

           _____________________________________________________________________
           City                         State   ZIP Code



    Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                                   page 1 of ___
Filed 06/26/19                                                                      Case 19-12732                                                                    Doc 1

     Fill in this information to identify your case:

     Debtor 1         Elvira Vazquez
                      __________________________________________________________________
                          First Name                    Middle Name                 Last Name

     Debtor 2             ________________________________________________________________
     (Spouse, if filing) First Name                     Middle Name                 Last Name


                                            Eastern District of California
     United States Bankruptcy Court for the:_______________________________________

     Case number          ____________________________________________
      (If known)
                                                                                                                                                 Check if this is an
                                                                                                                                                   amended filing

    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12/15
    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
    are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
    and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
    case number (if known). Answer every question.

     1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
           
           X   No
              Yes
     2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           
           X   No. Go to line 3.
              Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                    No
                    Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                     ______________________________________________________________________
                     Name of your spouse, former spouse, or legal equivalent

                     ______________________________________________________________________
                     Number              Street

                     ______________________________________________________________________
                     City                                             State                     ZIP Code

     3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
           shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
           Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
           Schedule E/F, or Schedule G to fill out Column 2.

            Column 1: Your codebtor                                                                           Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:
     3.1
             ________________________________________________________________________________                  Schedule D, line ______
             Name

             ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
             Number             Street                                                                         Schedule G, line ______
             ________________________________________________________________________________
             City                                                        State                   ZIP Code

     3.2
             ________________________________________________________________________________                  Schedule D, line ______
             Name

             ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
             Number             Street                                                                         Schedule G, line ______
             ________________________________________________________________________________
             City                                                        State                   ZIP Code

     3.3
             ________________________________________________________________________________                  Schedule D, line ______
             Name

             ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
             Number             Street                                                                         Schedule G, line ______
             ________________________________________________________________________________
             City                                                        State                   ZIP Code

    Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                     page 1 of ___
Filed 06/26/19                                                         Case 19-12732                                                                          Doc 1

     Fill in this information to identify your case:


     Debtor 1           Elvira Vazquez
                        ____________________________________________________________________
                         First Name             Middle Name            Last Name

     Debtor 2            ____________________________________________________________________
     (Spouse, if filing) First Name             Middle Name            Last Name


                                                   Eastern District of California
     United States Bankruptcy Court for the: ___________________________________________

     Case number         ___________________________________________                                   Check if this is:
      (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing post-petition
                                                                                                           chapter 13 income as of the following date:
                                                                                                           ________________
    Official Form 106I                                                                                     MM / DD / YYYY

    Schedule I: Your Income                                                                                                                             12/15

    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
    If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
    separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


      Part 1:           Describe Employment


     1. Fill in your employment
         information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

         If you have more than one job,
         attach a separate page with
         information about additional         Employment status            
                                                                           X Employed                                    Employed
         employers.                                                         Not employed                               FillNot
                                                                                                                              outemployed
                                                                                                                                 this information:
         Include part-time, seasonal, or
         self-employed work.
                                              Occupation                  Farm Laborer
                                                                          __________________________________          __________________________________
         Occupation may Include student
         or homemaker, if it applies.
                                              Employer’s name            Various
                                                                         __________________________________           __________________________________


                                              Employer’s address       ________________________________________     ________________________________________
                                                                         Number Street                               Number    Street

                                                                       ________________________________________     ________________________________________

                                                                       ________________________________________     ________________________________________

                                                                       ________________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                              How long employed there?         _______                                 _______

      Part 2:           Give Details About Monthly Income

         Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
         spouse unless you are separated.
         If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
         below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1        For Debtor 2 or
                                                                                                                       non-filing spouse
      2. List monthly gross wages, salary, and commissions (before all payroll
           deductions). If not paid monthly, calculate what the monthly wage would be.      2.     2,880.00                 0.00
                                                                                                  $___________             $____________

      3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                    0.00              + $____________
                                                                                                                         0.00

      4. Calculate gross income. Add line 2 + line 3.                                       4.     2,880.00
                                                                                                  $__________               0.00
                                                                                                                           $____________




    Official Form 106I                                             Schedule I: Your Income                                                           page 1
Filed 06/26/19                                                                             Case 19-12732                                                                                  Doc 1
    Debtor 1          Elvira Vazquez
                      _______________________________________________________                                                   Case number (if known)_____________________________________
                      First Name        Middle Name               Last Name



                                                                                                                               For Debtor 1         For Debtor 2 or
                                                                                                                                                    non-filing spouse

         Copy line 4 here ............................................................................................  4.      2,880.00
                                                                                                                                $___________            0.00
                                                                                                                                                       $_____________

      5. List all payroll deductions:

          5a. Tax, Medicare, and Social Security deductions                                                            5a.      700.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
          5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
          5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
          5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
          5e. Insurance                                                                                                5e.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
          5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________

          5g. Union dues                                                                                               5g.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________

          5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                                 0.00               + $_____________
                                                                                                                                                       0.00
      6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      700.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________

      7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      2,180.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________


      8. List all other income regularly received:

          8a. Net income from rental property and from operating a business,
              profession, or farm
                Attach a statement for each property and business showing gross
                receipts, ordinary and necessary business expenses, and the total                                               0.00                    0.00
                                                                                                                               $____________           $_____________
                monthly net income.                                                                                    8a.
          8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
          8c. Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
                Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                               $____________           $_____________
                settlement, and property settlement.                                                                   8c.
          8d. Unemployment compensation                                                                                8d.      500.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
          8e. Social Security                                                                                          8e.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
          8f. Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental                                            0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
              Nutrition Assistance Program) or housing subsidies.
              Specify: ___________________________________________________ 8f.

          8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________
                                             See Attachment 1
          8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                                 1,300.00            + $_____________
                                                                                                                                                        0.00
      9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      1,800.00
                                                                                                                               $____________            0.00
                                                                                                                                                       $_____________

     10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                3,980.00
                                                                                                                               $___________     +       0.00
                                                                                                                                                       $_____________           3,980.00
                                                                                                                                                                             = $_____________
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
         friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify: _______________________________________________________________________________                                                                             0.00
                                                                                                                                                                       11. + $_____________

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      3,980.00
                                                                                                                                                                               $_____________
                                                                                                                                                                               Combined
                                                                                                                                                                               monthly income
      13. Do you expect an increase or decrease within the year after you file this form?
          
          X     No.
               Yes. Explain:


      Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
Filed 06/26/19                                                   Case 19-12732                                                                       Doc 1


                                                        Attachment
                                               Debtor: Elvira Vazquez Case No:


    Attachment 1
         Rent from boarders at primary residence
    Attachment 2: Additional Notes
         Debtor is a seasonal worker. The gross income as shown reflects employment beginning on May 6, 2019 and the Debtor estimates the job will
         end approximately July 31, 2019. From February to end of April, Debtor was receiving Disability in the amount of $367.00 per week.
Filed 06/26/19                                                             Case 19-12732                                                                          Doc 1

      Fill in this information to identify your case:

      Debtor 1          Elvira Vazquez
                        __________________________________________________________________
                          First Name              Middle Name              Last Name                       Check if this is:
      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter 13
                                                    Eastern District of California
      United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                                ________________
      Case number         ___________________________________________                                           MM / DD / YYYY
      (If known)




    Official Form 106J
    Schedule J: Your Expenses                                                                                                                                 12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

      Part 1:            Describe Your Household

     1. Is this a joint case?

        
        X     No. Go to line 2.
             Yes. Does Debtor 2 live in a separate household?

                         No
                         Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

     2. Do you have dependents?                  
                                                 X    No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
        Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
        Debtor 2.                                     each dependent .........................
        Do not state the dependents’
                                                                                                                                                       No
                                                                                         _________________________                   ________
        names.                                                                                                                                         Yes

                                                                                         _________________________                   ________          No
                                                                                                                                                       Yes

                                                                                         _________________________                   ________          No
                                                                                                                                                       Yes

                                                                                         _________________________                   ________          No
                                                                                                                                                       Yes

                                                                                         _________________________                   ________          No
                                                                                                                                                       Yes

     3. Do your expenses include
        expenses of people other than
                                                 
                                                 X    No
        yourself and your dependents?                Yes

     Part 2:          Estimate Your Ongoing Monthly Expenses

     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
     applicable date.
     Include expenses paid for with non-cash government assistance if you know the value of
     such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                            Your expenses

      4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                        1,634.00
                                                                                                                                       $_____________________
          any rent for the ground or lot.                                                                                      4.

          If not included in line 4:
          4a.      Real estate taxes                                                                                           4a.      0.00
                                                                                                                                       $_____________________
          4b.      Property, homeowner’s, or renter’s insurance                                                                4b.      0.00
                                                                                                                                       $_____________________
          4c.      Home maintenance, repair, and upkeep expenses                                                               4c.      150.00
                                                                                                                                       $_____________________
          4d.      Homeowner’s association or condominium dues                                                                 4d.      0.00
                                                                                                                                       $_____________________

      Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
Filed 06/26/19                                                           Case 19-12732                                                                   Doc 1

    Debtor 1          Elvira Vazquez
                      _______________________________________________________                  Case number (if known)_____________________________________
                      First Name    Middle Name        Last Name




                                                                                                                           Your expenses

                                                                                                                           0.00
                                                                                                                          $_____________________
      5. Additional mortgage payments for your residence, such as home equity loans                                5.


      6. Utilities:

           6a.   Electricity, heat, natural gas                                                                    6a.     260.00
                                                                                                                          $_____________________
           6b.   Water, sewer, garbage collection                                                                  6b.     90.00
                                                                                                                          $_____________________
           6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     160.00
                                                                                                                          $_____________________
           6d.   Other. Specify: cell phone
                                 _______________________________________________                                   6d.     60.00
                                                                                                                          $_____________________

      7. Food and housekeeping supplies                                                                            7.      700.00
                                                                                                                          $_____________________

      8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                          $_____________________
      9. Clothing, laundry, and dry cleaning                                                                       9.      300.00
                                                                                                                          $_____________________
    10.    Personal care products and services                                                                     10.     100.00
                                                                                                                          $_____________________
    11.    Medical and dental expenses                                                                             11.     80.00
                                                                                                                          $_____________________

    12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                           350.00
                                                                                                                          $_____________________
           Do not include car payments.                                                                            12.

    13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                          $_____________________
    14.    Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                          $_____________________
                                                                                                                                                        16.
     15.   Insurance.
           Do not include insurance deducted from your pay or included in lines 4 or 20.

           15a. Life insurance                                                                                     15a.    0.00
                                                                                                                          $_____________________
           15b. Health insurance                                                                                   15b.    0.00
                                                                                                                          $_____________________
           15c. Vehicle insurance                                                                                  15c.    80.00
                                                                                                                          $_____________________
           15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                          $_____________________

    16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                           0.00
                                                                                                                          $_____________________
           Specify: ________________________________________________________                                       16.

    17.    Installment or lease payments:
           17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                          $_____________________

           17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                          $_____________________

           17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

           17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

    18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
           your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    0.00
                                                                                                                          $_____________________

    19.    Other payments you make to support others who do not live with you.
           Specify:_______________________________________________________                                          19.    0.00
                                                                                                                          $_____________________

    20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

           20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                          $_____________________

           20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                          $_____________________

           20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                          $_____________________

           20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                          $_____________________

           20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                          $_____________________



      Official Form 106J                                           Schedule J: Your Expenses                                                   page 2
Filed 06/26/19                                                         Case 19-12732                                                                        Doc 1

    Debtor 1         Elvira Vazquez
                     _______________________________________________________                      Case number (if known)_____________________________________
                     First Name    Middle Name       Last Name




    21.    Other. Specify: _________________________________________________                                          21.     0.00
                                                                                                                            +$_____________________

    22.    Calculate your monthly expenses.                                                                                   3,964.00
                                                                                                                             $_____________________
           22a. Add lines 4 through 21.
           22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $_____________________
           22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.     3,964.00
                                                                                                                             $_____________________



     23. Calculate your monthly net income.

          23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                               3,980.00
                                                                                                                              $_____________________

          23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                               3,964.00

          23c.   Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                              23c.
                                                                                                                               16.00
                                                                                                                              $_____________________




    24. Do you expect an increase or decrease in your expenses within the year after you file this form?

          For example, do you expect to finish paying for your car loan within the year or do you expect your
          mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

          
          X   No.
             Yes.      Explain here:




      Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
Filed 06/26/19                                                                           Case 19-12732                                                                                             Doc 1


      Fill in this information to identify your case:

      Debtor 1          Elvira Vazquez
                        __________________________________________________________________
                          First Name                      Middle Name                     Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                      Middle Name                     Last Name


      United States Bankruptcy Court for the: Eastern District of California
                                              ______________________________________

      Case number         ___________________________________________                                                                                                           Check if this is an
                          (If known)                                                                                                                                              amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.


     Part 1:        Summarize Your Assets


                                                                                                                                                                           Your assets
                                                                                                                                                                           Value of what you own
     1. Schedule A/B: Property (Official Form 106A/B)
         1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 297,000.00
                                                                                                                                                                                 ________________



         1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 24,051.00
                                                                                                                                                                                 ________________


         1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                               $ 0.00
                                                                                                                                                                                 ________________



     Part 2:        Summarize Your Liabilities



                                                                                                                                                                           Your liabilities
                                                                                                                                                                           Amount you owe
     2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
         2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 246,300.00
                                                                                                                                                                                 ________________


     3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                               $ 0.00
                                                                                                                                                                                 ________________
         3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

         3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                           +   $ 38,451.00
                                                                                                                                                                                 ________________


                                                                                                                                          Your total liabilities               $ 284,751.00
                                                                                                                                                                                 ________________



     Part 3:        Summarize Your Income and Expenses


     4. Schedule I: Your Income (Official Form 106I)
         Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 3,980.00
                                                                                                                                                                                 ________________


     5. Schedule J: Your Expenses (Official Form 106J)
         Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 3,964.00
                                                                                                                                                                                 ________________




    Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
Filed 06/26/19                                                           Case 19-12732                                                                           Doc 1
    Debtor 1         Elvira Vazquez
                     _______________________________________________________                           Case number (if known)_____________________________________
                     First Name     Middle Name        Last Name




     Part 4:       Answer These Questions for Administrative and Statistical Records

     6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        
        X Yes

     7. What kind of debt do you have?

        
        X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
               family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
               this form to the court with your other schedules.



     8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
        Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 4,180.00
                                                                                                                                             _________________




     9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


         From Part 4 on Schedule E/F, copy the following:


        9a. Domestic support obligations (Copy line 6a.)
                                                                                                                0.00
                                                                                                               $_____________________

        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                                0.00
                                                                                                               $_____________________

        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                0.00
                                                                                                               $_____________________


        9d. Student loans. (Copy line 6f.)
                                                                                                                0.00
                                                                                                               $_____________________

        9e. Obligations arising out of a separation agreement or divorce that you did not report as
            priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                               $_____________________


        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                            + $_____________________


        9g. Total. Add lines 9a through 9f.                                                                     0.00
                                                                                                               $_____________________




        Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
Filed 06/26/19                                                                Case 19-12732                                                                              Doc 1

   Fill in this information to identify your case:

   Debtor 1          Elvira Vazquez
                     __________________________________________________________________
                       First Name                 Middle Name              Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name                 Middle Name              Last Name


   United States Bankruptcy Court for the: Eastern District of California
                                           _______________________________________
   Case number         ___________________________________________
    (If known)
                                                                                                                                                  Check if this is an
                                                                                                                                                     amended filing



     Official Form 106Dec
     Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

     If two married people are filing together, both are equally responsible for supplying correct information.

     You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
     obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
     years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below



          Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          
          X No
          Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                      Signature (Official Form 119).




          Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
          that they are true and correct.




       /s/Elvira Vasquez
             ______________________________________________             
                                                                         _____________________________
            Signature of Debtor 1                                             Signature of Debtor 2


            Date 06/26/2019
                 _________________                                            Date _________________
                   MM /    DD       /   YYYY                                           MM / DD /   YYYY




     Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
Filed 06/26/19                                                           Case 19-12732                                                                        Doc 1


     Fill in this information to identify your case:

     Debtor 1          Elvira                                         Vazquez
                       __________________________________________________________________
                         First Name             Middle Name                Last Name

     Debtor 2            ________________________________________________________________
     (Spouse, if filing) First Name             Middle Name                Last Name


     United States Bankruptcy Court for the: Eastern District of California
                                             ____________________________________________

     Case number         ___________________________________________
      (If known)                                                                                                                           Check if this is an
                                                                                                                                             amended filing




    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.


     Part 1:         Give Details About Your Marital Status and Where You Lived Before


     1. What is your current marital status?


           Married
          
          X Not married

     2. During the last 3 years, have you lived anywhere other than where you live now?

         
         X     No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                   Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                    lived there                                                                lived there

                                                                                         Same as Debtor 1                                       Same as Debtor 1

                   __________________________________________       From     ________       ___________________________________________           From ________
                    Number    Street                                                        Number Street
                                                                    To       ________                                                             To    ________
                   __________________________________________                               ___________________________________________

                   __________________________________________                               ___________________________________________
                   City                     State ZIP Code                                  City                     State ZIP Code


                                                                                         Same as Debtor 1                                       Same as Debtor 1


                   __________________________________________       From     ________       ___________________________________________           From ________
                    Number    Street                                                        Number Street
                                                                    To       ________                                                             To    ________
                   __________________________________________                               ___________________________________________

                   __________________________________________                               ___________________________________________
                   City                     State ZIP Code                                  City                     State   ZIP Code


     3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
         and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
         
         X     No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




     Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
Filed 06/26/19                                                               Case 19-12732                                                                                 Doc 1

    Debtor 1        Elvira Vazquez
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name      Middle Name          Last Name




     Part 2: Explain the Sources of Your Income

     4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
         Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
         If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
        
         X     Yes. Fill in the details.

                                                               Debtor 1                                               Debtor 2

                                                               Sources of income             Gross income             Sources of income           Gross income
                                                               Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


                From January 1 of current year until
                                                                
                                                                X    Wages, commissions,                                 Wages, commissions,
                                                                     bonuses, tips            27,085.00
                                                                                             $________________            bonuses, tips           $________________
                the date you filed for bankruptcy:
                                                                    Operating a business                                Operating a business


                For last calendar year:                         
                                                                X    Wages, commissions,                                 Wages, commissions,
                                                                     bonuses, tips            9,131.00
                                                                                             $________________            bonuses, tips           $________________
                (January 1 to December 31, 2018
                                           _________)           
                                                                X    Operating a business                                Operating a business
                                                  YYYY



                For the calendar year before that:
                                                                    Wages, commissions,                                 Wages, commissions,
                                                                     bonuses, tips                                        bonuses, tips
                                                                                              0.00
                                                                                             $________________                                    $________________
                (January 1 to December 31, 2017
                                           _________)               Operating a business                                Operating a business
                                                  YYYY



     5. Did you receive any other income during this year or the two previous calendar years?
         Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
         and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
         winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

         List each source and the gross income from each source separately. Do not include income that you listed in line 4.

              No
         
         X     Yes. Fill in the details.
                                                                Debtor 1                                               Debtor 2

                                                                Sources of income            Gross income from         Sources of income          Gross income from
                                                                Describe below.              each source               Describe below.            each source
                                                                                             (before deductions and                               (before deductions and
                                                                                             exclusions)                                          exclusions)


                                                              Unemployment
                                                              __________________             8,605.00
                                                                                            $_________________ _____________________
                From January 1 of current year until                                                                                 $_________________
                the date you filed for bankruptcy:            Disability
                                                              __________________             4,000.00
                                                                                            $_________________ _____________________
                                                                                                                                     $_________________
                                                              __________________            $_________________ _____________________ $_________________


                For last calendar year:
                                                              Unemplyment
                                                              __________________             1,925.00
                                                                                            $_________________ _____________________ $_________________

                (January 1 to December 31, 2018
                                           ______)            __________________            $_________________ _____________________ $_________________
                                                  YYYY
                                                              __________________            $_________________ _____________________ $_________________



                For the calendar year before that:            __________________            $_________________ _____________________ $_________________
                (January 1 to December 31, 2017
                                           ______)            __________________            $_________________ _____________________ $_________________
                                                  YYYY
                                                              __________________            $_________________ _____________________ $_________________




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    Debtor 1       Elvira Vazquez
                   _______________________________________________________                             Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name




     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



     6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

              No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   “incurred by an individual primarily for a personal, family, or household purpose.”
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6, 825* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                   * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     
      X        Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                   
                   X    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and
                             alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                          Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                          payment


                          United Wholesale Mortgage
                          ____________________________________            06/01/19
                                                                         _________       4,902.00
                                                                                        $_________________  223,000.00
                                                                                                           $__________________              
                                                                                                                                            X Mortgage
                          Creditor’s Name
                                                                                                                                             Car
                          PO  Box 77404
                          ____________________________________            05/01/19
                                                                         _________
                          Number    Street                                                                                                   Credit card
                                                                          04/01/19
                                                                                                                                             Loan repayment
                          ____________________________________           _________
                                                                                                                                             Suppliers or vendors
                          Ewing  NJ 08628
                          ____________________________________
                          City                    State       ZIP Code                                                                       Other ____________


                          ____________________________________           _________      $_________________ $__________________               Mortgage
                          Creditor’s Name
                                                                                                                                             Car
                          ____________________________________
                          Number    Street
                                                                         _________                                                           Credit card
                                                                                                                                             Loan repayment
                          ____________________________________           _________
                                                                                                                                             Suppliers or vendors
                          ____________________________________
                          City                    State       ZIP Code
                                                                                                                                             Other ____________



                          ____________________________________           _________      $_________________ $__________________               Mortgage
                          Creditor’s Name
                                                                                                                                             Car
                          ____________________________________
                          Number    Street
                                                                         _________                                                           Credit card
                                                                                                                                             Loan repayment
                          ____________________________________           _________
                                                                                                                                             Suppliers or vendors
                          ____________________________________
                          City                    State       ZIP Code
                                                                                                                                             Other ____________



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    Debtor 1           Elvira Vazquez
                       _______________________________________________________                            Case number (if known)_____________________________________
                       First Name      Middle Name           Last Name




     7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
         Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
         corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
         agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
         such as child support and alimony.

         
         X     No
              Yes. List all payments to an insider.
                                                                            Dates of      Total amount      Amount you still   Reason for this payment
                                                                            payment       paid              owe


                ____________________________________________              _________      $____________ $____________
                Insider’s Name


                ____________________________________________              _________
                Number        Street


                ____________________________________________              _________

                ____________________________________________
                City                                 State   ZIP Code



                ____________________________________________                             $____________ $____________
                                                                          _________
                Insider’s Name

                ____________________________________________              _________
                Number        Street


                ____________________________________________              _________

                ____________________________________________
                City                                 State   ZIP Code


     8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
         an insider?
         Include payments on debts guaranteed or cosigned by an insider.

         
         X     No
              Yes. List all payments that benefited an insider.
                                                                           Dates of        Total amount     Amount you still   Reason for this payment
                                                                           payment         paid             owe
                                                                                                                               Include creditor’s name

                ____________________________________________              _________      $____________ $____________
                Insider’s Name


                ____________________________________________              _________
                Number        Street


                ____________________________________________              _________

                ____________________________________________
                City                                 State   ZIP Code




                ____________________________________________              _________      $____________ $____________
                Insider’s Name


                ____________________________________________              _________
                Number        Street


                ____________________________________________              _________

                ____________________________________________
                City                                 State   ZIP Code




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    Debtor 1        Elvira Vazquez
                    _______________________________________________________                                        Case number (if known)_____________________________________
                    First Name            Middle Name            Last Name




      Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

     9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
         List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
         and contract disputes.

         
         X     No
              Yes. Fill in the details.
                                                                        Nature of the case                   Court or agency                                 Status of the case



                Case title_____________________________
                                                                                                            ________________________________________
                                                                                                            Court Name
                                                                                                                                                               Pending

                                                                                                                                                               On appeal
                ____________________________________                                                        ________________________________________
                                                                                                            Number    Street                                   Concluded

                Case number ________________________                                                        ________________________________________
                                                                                                            City                   State   ZIP Code




                Case title_____________________________
                                                                                                            ________________________________________
                                                                                                            Court Name
                                                                                                                                                               Pending

                                                                                                                                                               On appeal
                ____________________________________                                                        ________________________________________
                                                                                                            Number    Street                                   Concluded

                Case number ________________________                                                        ________________________________________
                                                                                                            City                   State   ZIP Code


     10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
         Check all that apply and fill in the details below.

         
         X     No. Go to line 11.
              Yes. Fill in the information below.

                                                                                  Describe the property                                     Date          Value of the property



                     _________________________________________                                                                              __________     $______________
                     Creditor’s Name


                     _________________________________________
                     Number      Street                                           Explain what happened

                                                                                      Property was repossessed.
                     _________________________________________
                                                                                      Property was foreclosed.
                                                                                      Property was garnished.
                     _________________________________________
                     City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                  Describe the property                                     Date           Value of the property



                                                                                                                                           __________      $______________
                     _________________________________________
                     Creditor’s Name


                     _________________________________________
                     Number      Street
                                                                                  Explain what happened

                     _________________________________________                        Property was repossessed.
                                                                                      Property was foreclosed.
                     _________________________________________                        Property was garnished.
                     City                               State   ZIP Code
                                                                                      Property was attached, seized, or levied.



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    Debtor 1          Elvira Vazquez
                      _______________________________________________________                                Case number (if known)_____________________________________
                      First Name     Middle Name             Last Name




     11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
         accounts or refuse to make a payment because you owed a debt?
         
         X     No
              Yes. Fill in the details.

                                                                     Describe the action the creditor took                         Date action       Amount
                                                                                                                                   was taken
               ______________________________________
               Creditor’s Name


               ______________________________________                                                                             ____________ $________________
               Number     Street


               ______________________________________

               ______________________________________
               City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


     12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
         creditors, a court-appointed receiver, a custodian, or another official?
         
         X     No
              Yes

     Part 5:          List Certain Gifts and Contributions


     13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

         
         X     No
              Yes. Fill in the details for each gift.


                Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
                per person                                                                                                         the gifts



               ______________________________________                                                                              _________           $_____________
               Person to Whom You Gave the Gift


               ______________________________________                                                                              _________           $_____________

               ______________________________________


               ______________________________________
               City                           State   ZIP Code


               Person’s relationship to you    ______________


               Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
               per person                                                                                                          the gifts


               ______________________________________                                                                              _________           $_____________
               Person to Whom You Gave the Gift


               ______________________________________                                                                              _________           $_____________


               ______________________________________


               ______________________________________
               City                           State   ZIP Code


               Person’s relationship to you ______________


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    Debtor 1           Elvira Vazquez
                       _______________________________________________________                                     Case number (if known)_____________________________________
                       First Name     Middle Name              Last Name




     14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

         
         X     No
              Yes. Fill in the details for each gift or contribution.

                Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
                that total more than $600                                                                                                   contributed



               _____________________________________                                                                                        _________           $_____________
               Charity’s Name


               _____________________________________                                                                                        _________           $_____________


               _____________________________________



               _____________________________________
               City           State    ZIP Code




     Part 6:           List Certain Losses


     15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
         or gambling?

         
         X     No
              Yes. Fill in the details.

                Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
                the loss occurred                                                                                                                               lost
                                                                       Include the amount that insurance has paid. List pending insurance
                                                                       claims on line 33 of Schedule A/B: Property.


                                                                                                                                            _________           $_____________




     Part 7:          List Certain Payments or Transfers

     16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
         consulted about seeking bankruptcy or preparing a bankruptcy petition?
         Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

              No
         
         X     Yes. Fill in the details.

                                                                       Description and value of any property transferred                    Date payment or     Amount of payment
                Law Office of Patricia S. Carrillo                                                                                          transfer was made
                ___________________________________
                Person Who Was Paid

                2651  Serena Avenue
                ___________________________________
                Number       Street
                                                                                                                                            06/01/19
                                                                                                                                            _________            1,000.00
                                                                                                                                                                $_____________

                ___________________________________
                                                                                                                                            _________           $_____________
                Clovis CA 93619
                ___________________________________
                City                       State    ZIP Code


                ____________________________________________
                Email or website address

                ___________________________________
                Person Who Made the Payment, if Not You



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    Debtor 1           Elvira Vazquez
                       _______________________________________________________                                    Case number (if known)_____________________________________
                       First Name      Middle Name              Last Name




                                                                        Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                         transfer was made      payment

                ____________________________________
                Person Who Was Paid
                                                                                                                                         _________             $_____________
                ____________________________________
                Number       Street

                                                                                                                                         _________             $_____________
                ____________________________________

                ____________________________________
                City                        State    ZIP Code



                ________________________________________________
                Email or website address

                ___________________________________
                Person Who Made the Payment, if Not You


     17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
         promised to help you deal with your creditors or to make payments to your creditors?
         Do not include any payment or transfer that you listed on line 16.

         
         X     No
              Yes. Fill in the details.

                                                                        Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                         transfer was made
                ____________________________________
                Person Who Was Paid
                                                                                                                                         _________             $____________
                ____________________________________
                Number        Street

                ____________________________________                                                                                     _________             $____________

                ____________________________________
                City                        State    ZIP Code

     18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
         transferred in the ordinary course of your business or financial affairs?
         Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
         Do not include gifts and transfers that you have already listed on this statement.
         
         X     No
              Yes. Fill in the details.

                                                                        Description and value of property         Describe any property or payments received      Date transfer
                                                                        transferred                               or debts paid in exchange                       was made
                ___________________________________
                Person Who Received Transfer

                ___________________________________                                                                                                               _________
                Number       Street

                ___________________________________

                ___________________________________
                City                        State    ZIP Code


                Person’s relationship to you _____________

                ___________________________________
                Person Who Received Transfer
                                                                                                                                                                  _________
                ___________________________________
                Number       Street

                ___________________________________

                ___________________________________
                City                        State    ZIP Code

                Person’s relationship to you _____________

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    Debtor 1           Elvira Vazquez
                       _______________________________________________________                                   Case number (if known)_____________________________________
                       First Name     Middle Name              Last Name




     19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
         are a beneficiary? (These are often called asset-protection devices.)

         
         X     No
              Yes. Fill in the details.

                                                                       Description and value of the property transferred                                       Date transfer
                                                                                                                                                               was made


                                                                                                                                                               _________
               Name of trust __________________________


               ______________________________________




     Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

     20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
         closed, sold, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
         brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         
         X     No
              Yes. Fill in the details.

                                                                       Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                            instrument               closed, sold, moved,   closing or transfer
                                                                                                                                     or transferred
                ____________________________________
                Name of Financial Institution
                                                                           XXXX–___ ___ ___ ___             Checking               _________              $___________
                ____________________________________
                Number       Street
                                                                                                             Savings
                ____________________________________                                                         Money market
                ____________________________________
                                                                                                             Brokerage
                City                       State    ZIP Code                                                 Other__________

                ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
                Name of Financial Institution
                                                                                                             Savings
                ____________________________________
                Number       Street                                                                          Money market
                ____________________________________                                                         Brokerage
                ____________________________________                                                         Other__________
                City                       State    ZIP Code


     21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
         securities, cash, or other valuables?
         
         X     No
              Yes. Fill in the details.
                                                                           Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                                   have it?

                                                                                                                                                                   
                                                                                                                                                                   X   No
                ____________________________________
                Name of Financial Institution
                                                                      _______________________________________
                                                                      Name
                                                                                                                                                                      Yes

                ____________________________________                  _______________________________________                                                      
                Number       Street                                   Number      Street
                ____________________________________
                                                                      _______________________________________
                                                                      City          State      ZIP Code
                ____________________________________
                City                       State    ZIP Code



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    Debtor 1            Elvira Vazquez
                        _______________________________________________________                                              Case number (if known)_____________________________________
                        First Name      Middle Name               Last Name




     22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
        
        X      No
              Yes. Fill in the details.
                                                                         Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                              have it?


                 ___________________________________                     _______________________________________                                                                No
                 Name of Storage Facility                                Name                                                                                                   Yes
                 ___________________________________                     _______________________________________                                                               
                 Number       Street                                     Number    Street

                 ___________________________________                     _______________________________________
                                                                         City State ZIP Code
                 ___________________________________
                 City                        State     ZIP Code



     Part 9:              Identify Property You Hold or Control for Someone Else

     23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
         or hold in trust for someone.
         
         X   No
              Yes. Fill in the details.
                                                                        Where is the property?                                    Describe the property                    Value


                 ___________________________________
                 Owner’s Name                                                                                                                                              $__________
                                                                       _________________________________________
                 ___________________________________                   Number     Street
                 Number        Street
                                                                       _________________________________________
                 ___________________________________
                                                                       _________________________________________
                 ___________________________________                   City                             State     ZIP Code
                 City                        State     ZIP Code


     Part 10:             Give Details About Environmental Information

     For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
         hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
         including statutes or regulations controlling the cleanup of these substances, wastes, or material.

      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
         it or used to own, operate, or utilize it, including disposal sites.

      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
         substance, hazardous material, pollutant, contaminant, or similar term.

     Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

     24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


         
         X     No
              Yes. Fill in the details.
                                                                         Governmental unit                            Environmental law, if you know it                   Date of notice



                ____________________________________                    _______________________________                                                                    _________
                Name of site                                            Governmental unit

                ____________________________________                    _______________________________
                Number       Street                                     Number    Street

                                                                        _______________________________
                ____________________________________                    City                   State   ZIP Code


                ____________________________________
                City                        State     ZIP Code



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    Debtor 1           Elvira Vazquez
                       _______________________________________________________                                              Case number (if known)_____________________________________
                       First Name      Middle Name              Last Name




     25. Have you notified any governmental unit of any release of hazardous material?

         
         X     No
              Yes. Fill in the details.
                                                                       Governmental unit                               Environmental law, if you know it                    Date of notice


                ____________________________________                  _______________________________
                Name of site                                          Governmental unit
                                                                                                                                                                             _________

                ____________________________________                  _______________________________
                Number        Street                                  Number     Street


                ____________________________________                  _______________________________
                                                                      City                  State    ZIP Code
                ____________________________________
                City                        State    ZIP Code


     26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

         
         X     No
              Yes. Fill in the details.
                                                                                                                                                                             Status of the
                                                                        Court or agency                                     Nature of the case
                                                                                                                                                                             case

               Case title______________________________
                                                                        ________________________________
                                                                        Court Name
                                                                                                                                                                              Pending
               ______________________________________
                                                                                                                                                                              On appeal
                                                                        ________________________________
                                                                        Number     Street                                                                                    Concluded

               ______________________________________
               Case number                                              ________________________________
                                                                        City                        State   ZIP Code
                                                                                                                                                                             

     Part 11:            Give Details About Your Business or Connections to Any Business

     27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               
               X    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                   A partner in a partnership
                   An officer, director, or managing executive of a corporation
                   An owner of at least 5% of the voting or equity securities of a corporation

              No. None of the above applies. Go to Part 12.
         
         X     Yes. Check all that apply above and fill in the details below for each business.
                                                                        Describe the nature of the business                                Employer Identification number
                Janitorial
                ____________________________________                                                                                       Do not include Social Security number or ITIN.
                Business Name
                                                                      Janitoria;
                3638 W. Olive Avenue
                ____________________________________
                                                                                                                                           EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
                Number        Street
                                                                        Name of accountant or bookkeeper                                   Dates business existed
                ____________________________________                  Debtor
                                                                                                                                           From1/1/2017
                                                                                                                                                  _______ To12/30/2017
                                                                                                                                                             _______
                Fresno CA 93722
                ____________________________________
                City                        State    ZIP Code

                                                                        Describe the nature of the business                                Employer Identification number
                ____________________________________                                                                                       Do not include Social Security number or ITIN.
                Business Name


                ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
                Number        Street
                                                                        Name of accountant or bookkeeper                                   Dates business existed
                ____________________________________

                                                                                                                                           From     _______ To _______
                ____________________________________
                City                        State    ZIP Code


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    Debtor 1           Elvira Vazquez
                       _______________________________________________________                                    Case number (if known)_____________________________________
                       First Name      Middle Name              Last Name




                                                                                                                                Employer Identification number
                                                                        Describe the nature of the business
                                                                                                                                Do not include Social Security number or ITIN.
                ____________________________________
                Business Name
                                                                                                                                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
                ____________________________________
                Number        Street
                                                                        Name of accountant or bookkeeper                        Dates business existed

                ____________________________________

                ____________________________________                                                                            From     _______ To _______
                City                        State    ZIP Code




     28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
         institutions, creditors, or other parties.

         
         X     No
              Yes. Fill in the details below.

                                                                        Date issued



                ____________________________________                    ____________
                Name                                                    MM / DD / YYYY


                ____________________________________
                Number        Street


                ____________________________________

                ____________________________________
                City                        State    ZIP Code




     Part 12:          Sign Below


          I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
          answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
          in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
          18 U.S.C. §§ 152, 1341, 1519, and 3571.




          /s/Elvira Vasquez
                ______________________________________________                        _____________________________
                Signature of Debtor 1                                                    Signature of Debtor 2


                     06/26/2019
                Date ________________                                                    Date _________________

          Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

          
          X      No
                Yes


          Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
          
          X     No
               Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




    Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
Filed 06/26/19                                                                  Case 19-12732                                                                    Doc 1

   Fill in this information to identify your case:

   Debtor 1           Elvira Vazquez
                      __________________________________________________________________
                       First Name                 Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name                 Middle Name                Last Name


                                           Eastern District Of California
   United States Bankruptcy Court for the: _______________________________________

   Case number         ___________________________________________                                                                               Check if this is an
    (If known)                                                                                                                                      amended filing



     Official Form 108
     Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

     If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
     You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
     whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
     If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
     Both debtors must sign and date the form.
     Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
     write your name and case number (if known).

        Part 1:         List Your Creditors Who Hold Secured Claims

       1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
          information below.

                 Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                          secures a debt?                                   as exempt on Schedule C?

             Creditor’s                                                                   Surrender the property.                           No
             name:      Wells Fargo Auto Finance
                                                                                          Retain the property and redeem it.               
                                                                                                                                            X Yes
             Description of
             property                                                                     Retain the property and enter into a
             securing debt: 2007 Jeep Wrangler                                              Reaffirmation Agreement.
                                                                                         
                                                                                         X Retain the property and [explain]: make
                                                                                                                              __________
                                                                                            payments
                                                                                            ______________________________________

      
             Creditor’s                                                                   Surrender the property.                          
                                                                                                                                            X No
             name:      Bank of Stockton
                                                                                          Retain the property and redeem it.                Yes
             Description of
             property                                                                     Retain the property and enter into a
             securing debt: 2015 Toyota Camry, Debtor's son makes all                       Reaffirmation Agreement.

                                    the monthly payments                                 
                                                                                         X Retain the property and [explain]: Make
                                                                                                                              __________
                                                                                            payments
                                                                                            ______________________________________
      
             Creditor’s
                        United Wholesale         Mortgage
                                                                                          Surrender the property.                          
                                                                                                                                            X No
             name:
                                                                                          Retain the property and redeem it.                Yes
             Description of
             property                                                                     Retain the property and enter into a
             securing debt: Primary                                                         Reaffirmation Agreement.
                                           Residence
                                                                                         
                                                                                         X Retain the property and [explain]: make
                                                                                                                              __________
                                                                                            payments
                                                                                            ______________________________________

             Creditor’s                                                                   Surrender the property.                           No
             name:
                                                                                          Retain the property and redeem it.                Yes
             Description of
             property                                                                     Retain the property and enter into a
             securing debt:                                                                 Reaffirmation Agreement.
                                                                                          Retain the property and [explain]: __________
                                                                                            ______________________________________

     Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
Filed 06/26/19                                                           Case 19-12732                                                                      Doc 1
    Your name      Elvira Vazquez
                   ______________________________________________________                           Case number (If known)_____________________________________
                   First Name           Middle Name      Last Name




      Part 2:          List Your Unexpired Personal Property Leases

      For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
      fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
      ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

          Describe your unexpired personal property leases                                                                   Will the lease be assumed?

         Lessor’s name:                                                                                                     No
                                                                                                                             Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                     No
                                                                                                                             Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                     No
         Description of leased                                                                                               Yes
         property:


         Lessor’s name:                                                                                                     No
                                                                                                                             Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                     No
                                                                                                                             Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                    No
                                                                                                                            Yes
         Description of leased
         property:
     
         Lessor’s name:                                                                                                    No
                                                                                                                            Yes
         Description of leased
         property:




     Part 3:           Sign Below



        Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
        personal property that is subject to an unexpired lease.



     /s/Elvira Vasquez
          ___________________________________________                  ___________________________________________
         Signature of Debtor 1                                           Signature of Debtor 2

              06/26/2019
         Date _________________                                          Date _________________
                MM /    DD   /   YYYY                                         MM /   DD /   YYYY




     Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                          page 2
Filed 06/26/19                                                             Case 19-12732                                                                               Doc 1
      Fill in this information to identify your case:                                                    Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
      Debtor 1          Elvira Vazquez
                        __________________________________________________________________
                          First Name             Middle Name               Last Name
                                                                                                         
                                                                                                         X   1. There is no presumption of abuse.
      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name             Middle Name               Last Name                        2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
      United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA
                                              ____________________________________________
                                                                                                                Means Test Calculation (Official Form 122A–2).
      Case number         ___________________________________________                                       3. The Means Test does not apply now because of
      (If known)                                                                                                qualified military service but it could apply later.


                                                                                                          Check if this is an amended filing

    Official Form 122A─1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                          12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
    additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
    do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
    Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

      Part 1:         Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
         
         X Not married. Fill out Column A, lines 2-11.
          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
           Married and your spouse is NOT filing with you. You and your spouse are:
             Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
             Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                       under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                       spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
           Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
           bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
           August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
           Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
           income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A              Column B
                                                                                                         Debtor 1              Debtor 2 or
                                                                                                                               non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions
                                                                                                           2,880.00
                                                                                                          $_________            $__________
         (before all payroll deductions).
      3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                           0.00
                                                                                                          $_________            $__________
         Column B is filled in.
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
                                                                                                           0.00
                                                                                                          $_________            $__________
         filled in. Do not include payments you listed on line 3.
      5. Net income from operating a business, profession,
                                                                        Debtor 1       Debtor 2
         or farm
         Gross receipts (before all deductions)                            $______    $______
                                                                                    _         _
          Ordinary and necessary operating expenses                    –   $______ –_ $______ _
                                                                                                  Copy
          Net monthly income from a business, profession, or farm           0.00
                                                                           $______     $______ here       0.00
                                                                                                          $_________            $__________

      6. Net income from rental and other real property                 Debtor 1       Debtor 2
         Gross receipts (before all deductions)                            $______   $______
                                                                                   _         _
          Ordinary and necessary operating expenses                    –   $______ – $______
                                                                                   _         _
                                                                                                  Copy
          Net monthly income from rental or other real property             0.00
                                                                           $______     $______ here
                                                                                                           0.00
                                                                                                          $_________            $__________
     7. Interest, dividends, and royalties                                                                 0.00
                                                                                                          $_________            $__________



     Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                    page 1
Filed 06/26/19                                                                                                    Case 19-12732                                                                          Doc 1

    Debtor 1             Elvira Vazquez
                         _______________________________________________________                                                        Case number (if known)_____________________________________
                         First Name              Middle Name                      Last Name



                                                                                                                                           Column A               Column B
                                                                                                                                           Debtor 1               Debtor 2 or
                                                                                                                                                                  non-filing spouse

     8. Unemployment compensation                                                                                                             0.00
                                                                                                                                             $__________            $___________
         Do not enter the amount if you contend that the amount received was a benefit
         under the Social Security Act. Instead, list it here: ................................ 
               For you ....................................................................................              0.00
                                                                                                                  $______________
               For your spouse ....................................................................               $______________
     9. Pension or retirement income. Do not include any amount received that was a
        benefit under the Social Security Act.                                                                                                0.00
                                                                                                                                             $__________            $___________
     10. Income from all other sources not listed above. Specify the source and amount.
         Do not include any benefits received under the Social Security Act or payments received
         as a victim of a war crime, a crime against humanity, or international or domestic
         terrorism. If necessary, list other sources on a separate page and put the total below.
            Rent from boarders at primary residence
            ______________________________________                                                                                            1,300.00
                                                                                                                                             $_________             $___________
            ______________________________________                                                                                           $_________             $___________
            Total amounts from separate pages, if any.                                                                                    + $_________
                                                                                                                                             0.00                 + $___________
     11. Calculate your total current monthly income. Add lines 2 through 10 for each
         column. Then add the total for Column A to the total for Column B.                                                                   4,180.00
                                                                                                                                             $_________
                                                                                                                                                              +     $___________
                                                                                                                                                                                        =    4,180.00
                                                                                                                                                                                            $__________
                                                                                                                                                                                            Total current
                                                                                                                                                                                            monthly income

     Part 2:            Determine Whether the Means Test Applies to You

     12. Calculate your current monthly income for the year. Follow these steps:
         12a.        Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here       4,180.00
                                                                                                                                                                                        $__________

                     Multiply by 12 (the number of months in a year).                                                                                                                   x 12
         12b.        The result is your annual income for this part of the form.                                                                                                 12b.    50,160.00
                                                                                                                                                                                        $__________

     13. Calculate the median family income that applies to you. Follow these steps:

         Fill in the state in which you live.                                                                 California

         Fill in the number of people in your household.
                                                                                                              1
         Fill in the median family income for your state and size of household. ................................................................................................. 13.    57,962.00
                                                                                                                                                                                        $__________
         To find a list of applicable median income amounts, go online using the link specified in the separate
         instructions for this form. This list may also be available at the bankruptcy clerk’s office.
     14. How do the lines compare?

         14a. 
              X Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                         Go to Part 3.

         14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A–2.

     Part 3:             Sign Below


                        By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                        /s/Elvira Vasquez
                              __________________________________________________________                                             ______________________________________
                              Signature of Debtor 1                                                                                   Signature of Debtor 2

                             Date 06/26/2019
                                  _________________                                                                                   Date _________________
                                  MM / DD / YYYY                                                                                           MM / DD / YYYY

                           If you checked line 14a, do NOT fill out or file Form 122A–2.
    ¯¯¯¯¯
                           If you checked line 14b, fill out Form 122A–2 and file it with this form.


    Official Form 122A-1                                                   Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
Filed 06/26/19                                                             Case 19-12732                                                                 Doc 1
          B2030 (Form 2030) (12/15)




                                                 United States Bankruptcy Court
                                                             EASTERN DISTRICT OF CALIFORNIA



          In re Elvira Vazquez

                                                                                                          Case No. ___________________

          Debtor                                                                                          Chapter 7____________________

                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

          1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
               named debtor(s) and that compensation paid to me within one year before the filing of the petition in
               bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
               contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                                        1,000.00
               For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

               Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                      1,000.00

               Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                        0.00

          2.   The source of the compensation paid to me was:

                     X Debtor                                  Other (specify)

          3.   The source of compensation to be paid to me is:

                     X Debtor                                  Other (specify)

          4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
                     members and associates of my law firm.

                        I have agreed to share the above-disclosed compensation with a other person or persons who are not
                     members or associates of my law firm. A copy of the agreement, together with a list of the names of the
                     people sharing in the compensation, is attached.

          5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
               case, including:

               a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
                     file a petition in bankruptcy;

               b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

               c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
                     hearings thereof;
Filed 06/26/19                                                  Case 19-12732                                                 Doc 1
          B2030 (Form 2030) (12/15)

               d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

               e.   [Other provisions as needed]




          6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                     me for representation of the debtor(s) in this bankruptcy proceeding.

                     June 26, 2019
                     ______________________               /s/Patricia S. Carrillo
                     Date                                     Signature of Attorney

                                                          Law Offices of Patricia S. Carrillo
                                                              Name of law firm
Filed 06/26/19                                                   Case 19-12732                                                                     Doc 1
    UNITED STATES BANKRUPTCY COURT
     EASTERN DISTRICT OF CALIFORNIA
    ________________________________________________________________________________________________________
    In Re:                                                                   Case No.
             Elvira Vazquez


                       Debtor(s)
    ________________________________________________________________________________________________________

                                              DECLARATION RE: ELECTRONIC FILING OF
                                               PETITION, SCHEDULES & STATEMENTS

    PART I - DECLARATION OF PETITIONER
                     Elvira Vazquez
              I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
    the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
    documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
    Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
    and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
    dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
    original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
    digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

      
      X If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
    aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
    chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
    and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
    petition, statements, and schedules is true and correct.

       If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
    electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
    requests relief in accordance with the chapter specified in this petition.

        If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
    in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
    be dismissed and, if dismissed, I may not receive a discharge of my debts.


    Dated: June 26, 2019
           _____________________________

            /s/Elvira Vasquez
    Signed: _______________________________________                              ______________________________________________
                          (Applicant)                                                           (Joint Applicant)


    PART II - DECLARATION OF ATTORNEY

              I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
    Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
    the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
    including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
    further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
    of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
    of which I have knowledge.

           June 26, 2019
    Dated: ______________________                              Attorney for Debtor(s) /s/Patricia S. Carrillo
                                                                                      _________________________________________
                                                                                       Patricia S. Carrillo
                                                                                       _________________________________________
                                                               Address of Attorney     2651 Serena Avenue
                                                                                       _________________________________________
                                                                                       Clovis, California 93619
                                                                                       _________________________________________
